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                                                                             Page 1
                 UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION
         ___________________________________
          FAIR FIGHT, INC., SCOTT BERSON,   )
          JOCELYN HEREDIA, and JANE DOE,    )
                                            )
                            Plaintiffs,     )
                                            ) Case No.
                   -against-                ) 2:20-CV-00302-SCJ
                                            )
          TRUE THE VOTE, CATHERINE          )
          ENGELBRECHT, DEREK SOMERVILLE,    )
          MARK DAVIS, MARK WILLIAMS, RON    )
          JOHNSON, JAMES COOPER, and JOHN   )
          DOES 1–10,                        )
                                            )
                            Defendants,     )
                                            )
          FAIR FIGHT ACTION, INC.,          )
                        Counter-Defendant. )
         ___________________________________)

                     VIDEO-RECORDED DEPOSITION OF
                             JOSEPH MARTIN
                     Zoom Recorded Videoconference
                              09/28/2021
                            9:03 a.m. (EDT)
         REPORTED BY: AMANDA GORRONO, CLR
         CLR NO. 052005-01
         __________________________________________________
                          DIGITAL EVIDENCE GROUP
                      1730 M Street, NW, Suite 812
                         Washington, D.C. 20036
                             (202) 232-0646


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   1                                                                  09/28/2021

   2                                                                  9:03 a.m. (EDT)

   3

   4              VIDEO-RECORDED DEPOSITION OF JOSEPH MARTIN,

   5     held virtually via Zoom Videoconferencing, before

   6     Amanda Gorrono, Certified Live Note Reporter, and

   7     Notary Public of the State of New York.

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                                                                             Page 3
   1     A P P E A R A N C E S
         (Via Zoom Videoconferencing):
   2
   3     ON BEHALF OF PLAINTIFFS:
               Torryn Taylor Rodgers, Esquire
   4           Perkins Coie LLP
               505 Howard Street
   5           Suite 1000
               San Francisco, CA 94105-3204
   6           PHONE: 415.344.7122
               E-MAIL: TTaylor@perkinscoie.com
   7               - AND -
   8           Michelle McClafferty, Esquire
               Lawrence & Bundy LLC
   9           1180 West Peachtree Street NW
               Suite 1650
 10            Atlanta, GA 30309
               PHONE: 404-400-1755
 11            FAX: 404-609-2504
               E-MAIL: Michelle.mcclafferty@lawrencebundy.com
 12                 - AND -
               Joel Ramirez, Esquire
 13            Elias Law Group
               10 G Street NE
 14            Suite 600
               Washington, DC, 20002-4253
 15
 16      ON BEHALF OF DEFENDANTS:
               Courtney Kramer, Esquire
 17            The Bopp Law Firm
               1 South Sixth Street
 18            Terre Haute, Indiana 47807-3510
               PHONE: (812) 232-2434
 19            FAX: (812) 235-3685
 20
 21      ALSO PRESENT:
         Henry Marte, Legal Videographer - Digital Evidence
 22      Group


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   6        EXHIBIT           DESCRIPTION                                      PAGE
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   1                            THE TECH:          We are now on the record.

   2     My name is Henry Marte.                 I am a videographer on

   3     behalf of Digital Evidence Group.

   4                            Today's date is September 28, 2021,

   5     and the time is 9:03 a.m.

   6                            This deposition is being held in the

   7     matter of Fair Fight, Inc., et al. Versus True the

   8     Vote.

   9                            The deponent today is Mr. Joe Martin.

 10                             All parties to this deposition are

 11      appearing remotely and have agreed to the witness

 12      being sworn in remotely.

 13                             All appearances -- you know what,

 14      counsel, please identify themselves for the record.

 15                             MS. TAYLOR:            Torryn Taylor with

 16      Perkins Coie on behalf of the plaintiffs.

 17                             MS. KRAMER:            Courtney Kramer with

 18      Bopp Law Firm on behalf of the defendants.

 19                             MS. McCLAFFERTY:               Michelle

 20      McClafferty with Lawrence & Bundy, also on behalf of

 21      plaintiffs.

 22                             MR. RAMIREZ:            Joel Ramirez with Elias



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   1     Law Group also on behalf of plaintiffs.

   2     JOSEPH MARTIN, called as a witness, having been first

   3     duly sworn by a Notary Public of the State of New

   4     York, was examined and testified as follows:

   5     EXAMINATION

   6     BY MS. TAYLOR:

   7               Q.          Good morning, Mr. Martin.

   8               A.          Good morning.

   9               Q.          Good morning.              I'm Torryn Taylor.     As

 10      I mentioned, I am an attorney for plaintiffs in this

 11      case.

 12                            Do you mind stating your full name

 13      for the record, please?

 14                A.          Clare Joseph Martin.

 15                Q.          Okay.        And your address, please?

 16                A.          3198 Hillman Road North --

 17                Q.          And is that?

 18                A.          -- Northeast Crawfordville, Georgia

 19      30631.

 20                Q.          Got it.         And, is that where you are

 21      videoing in today from, Mr. Martin?

 22                A.          Correct.



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                                                                             Page 7
   1               Q.          Great.        And, how are you viewing

   2     today's deposition?              Are you on your computer?

   3     Tablet?

   4               A.          Computer.

   5               Q.          Okay.        And, do you have any documents

   6     with you today?

   7               A.          Could you be -- what does that mean?

   8     I mean, I'm in my office here.

   9               Q.          Sorry.        That wasn't a very clear

 10      question.

 11                            Do you have any documents that you

 12      plan on using, for the purposes of the deposition

 13      today?

 14                A.          No.      None whatsoever.

 15                Q.          Okay.        And, is there anyone in the

 16      office with you today, from where you are videoing in

 17      from?

 18                A.          Nope.

 19                Q.          Okay.        And have you ever been deposed

 20      before, Mr. Martin?

 21                A.          No.

 22                Q.          Okay.        Just before we get started



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   1     then, I'm going to go over a couple -- just rules for

   2     this deposition, just so that we're on the same page

   3     and we know what's going on.

   4                           Just a reminder that all of the

   5     testimony that you give today is under oath, it's

   6     just as if you were to be testifying in court.

   7                           Okay?

   8               A.          Yes.

   9               Q.          And, for the benefit of everyone and

 10      the court reporter, and because we are doing this

 11      deposition today remotely, I'd ask that you make all

 12      of your answers to my questions audible.                          A head nod

 13      or head shake won't show up on the transcript.                          And

 14      it makes it a little more difficult for the court

 15      reporter.

 16                A.          Okay.

 17                Q.          Great.

 18                            I'd also ask that when I ask a

 19      question, you allow me to finish my question before

 20      you answer; just so that we're not interrupting each

 21      other.      It will also help us have a cleaner

 22      transcript.        And I'll do the same and I'll do my best



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   1     to not interrupt you when you are answering.

   2                           Does that sound fair?

   3               A.          Absolutely.

   4               Q.          Great.        And, from time to time your

   5     attorney, Ms. Kramer here, may make an objection to

   6     one of my questions, which is totally fine.                       I ask

   7     that you still respond to the question, unless she

   8     gives you a specific instruction not to.

   9                           Does that sound fair?

 10                A.          I'll follow whatever instructions she

 11      gives me.

 12                Q.          Okay.        And, because we're taking this

 13      deposition remotely today, and I'm not able to be in

 14      the same room with you and see what's going on over

 15      there, I -- do you understand that it would be

 16      appropriate not to tell -- or not to talk with anyone

 17      today about how to answer the questions that I ask

 18      you?

 19                A.          I don't understand what -- who am I

 20      supposed to talk to?               There's nobody here.

 21                Q.          Well, Mr. Martin, just because we're

 22      on video and I can't see what's necessarily going on



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   1     in front of you, for example, it would be

   2     inappropriate for you to text somebody or to message

   3     somebody, or otherwise attempt to communicate with

   4     someone about the answers to the questions that I'm

   5     going to ask you today.

   6                            Does that make sense?

   7               A.           Absolutely except for the attorney,

   8     Courtney Kramer.

   9               Q.           Right, Mr. Martin.                 You're more than

 10      welcome to speak with Ms. Kramer during breaks and

 11      what have you.          But I ask that when I'm asking you

 12      questions, and while a question is pending, before

 13      you've given the answer, that you don't communicate

 14      with Ms. Kramer; unless she gives you a specific

 15      instruction not to respond.

 16                             Does that make sense?

 17                A.           I guess so.

 18                Q.           Okay.

 19                             MS. TAYLOR:            Does that sound fair,

 20      Ms. Kramer.

 21                             MS. KRAMER:            That's fine.        If he has

 22      a question for me, then we can go off record though.



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   1                            That's fine, Joe.

   2                            THE WITNESS:            That's my understanding

   3     of your representation.

   4               Q.           That's fair.            It's just, I ask that

   5     if there is a question pending, that you respond to

   6     the question before we go off the record; just so

   7     that nothing is left hanging in the air.

   8                            Do you understand?

   9               A.           I understand what you are saying.

 10                Q.           Okay.       If at any point you don't

 11      understand a question that I'm asking, please let me

 12      know and I will rephrase that question to try and

 13      make it a little clearer.                   If you answer a question

 14      that I ask, I'll assume that you understand in that

 15      scenario.

 16                             Does that sound fair, Mr. Martin?

 17                A.           Absolutely.

 18                Q.           Great.

 19                             And, if at any point during today's

 20      deposition you need to take a break, just let me

 21      know.     And, we can go off the record and you're

 22      certainly welcome to do so.                    I'll try and take



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   1     regular breaks every hour or so.                        I don't anticipate

   2     that this deposition will go all day long.                           But, I --

   3     just to let you know that -- you're more than welcome

   4     to take a break when ever you want.                          Just let me know

   5     and I'll try to find a good place to stop.

   6                           All right?

   7               A.          Yes.       Thank you.

   8               Q.          Okay.        Let's get started then.

   9                           Mr. Martin, do you know what the case

 10      we are deposing you for today is about; in a general

 11      sense?

 12                A.          In a general, not specifically, no.

 13                Q.          Can you tell me at a high level what

 14      your understanding of the case is?

 15                A.          I've not read any of the -- any

 16      documents, court documents or anything.                           So I really

 17      don't know specifically.

 18                Q.          Okay.        Did you prepare to testify

 19      today?

 20                A.          What does "prepare" mean?                   You know.

 21                Q.          Did you meet with your attorney in

 22      preparation for the deposition today?



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   1               A.          Yes.

   2               Q.          Okay.        And, how many times did you

   3     meet with your attorneys?

   4               A.          On a video, if you call that meeting.

   5     Yes, once.

   6               Q.          Okay.        And, does the Bopp Law Firm

   7     represent you, in today's deposition?

   8               A.          I believe so.

   9               Q.          Okay.        And, without disclosing any

 10      specifics of the conversations from that video

 11      meeting you had with them, what -- can you describe

 12      for me at a high level what you guys discussed?

 13                A.          Yeah, they told me to tell the truth.

 14                Q.          Okay.        And, are you on any

 15      medications today, Mr. Martin, that might affect your

 16      ability to testify?

 17                A.          I don't know about ability to

 18      testify.       But, at my age, I'm on all kind of

 19      medications.

 20                Q.          You don't have to disclose all the

 21      medications, Mr. Martin.                  But, is there anything

 22      you're taking that might affect your memory, or your



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   1     ability to testify truthfully today?

   2               A.           There is nothing that will affect my

   3     ability to testify truthfully.                       But, again, at my

   4     age, memory is not your strongest suit.

   5               Q.           That's fair enough.                  And I'm not

   6     going to ask you to make things up, if you can't

   7     remember.       But just want to be clear you're not

   8     taking any medication that has a side effect that

   9     you're aware of that affect your memory; is that

 10      correct?

 11                A.           That is correct.

 12                Q.           All right.           Now, Mr. Martin, I -- I

 13      believe you mentioned you live in Crawfordville,

 14      Georgia; is that right?

 15                A.           That is correct.

 16                Q.           Is that in Taliaferro County?

 17                A.           That is correct.

 18                Q.           Okay.       And I want to make sure I'm

 19      pronouncing it correctly, because I'm going to be

 20      saying it a few times today.                     It is pronounced

 21      Taliaferro County; is that correct?

 22                A.           Correct.



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   1               Q.           Okay.       Great.        And, do you know the

   2     population of Taliaferro County, by any chance?

   3     Roughly?

   4               A.           Yeah.       1700 folks.

   5               Q.           So, relatively small county?

   6               A.           Smallest in Georgia.

   7               Q.           Oh, is it?

   8                            And, how long have you lived there?

   9               A.           Since 2008.

 10                Q.           Okay.       And, where were you before

 11      that?

 12                A.           In Maryland.

 13                Q.           Okay.       And, what do you do for a

 14      living, Mr. Martin?

 15                A.           I'm a retired -- retired.

 16                Q.           Okay.       And, what did you do before

 17      your retirement?

 18                A.           I worked in the defense industry.

 19                Q.           Okay.       Until about -- about when did

 20      you retire?

 21                A.           Well, I retired from the -- about

 22      when?     Somewhere around 2009.



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                                                                            Page 16
   1               Q.           Okay.       So, after you moved to

   2     Taliaferro County?

   3               A.           2008.       Sometime in 2008 I believe.

   4               Q.           Okay.       And, prior to these past

   5     general and runoff elections in Georgia, had you had

   6     any experience with the Georgia Election Code?

   7               A.           Experience with the code, I would say

   8     no.

   9               Q.           Okay.       And, do you have any legal

 10      training or background?

 11                A.           No.

 12                Q.           And, are you a registered voter in

 13      Georgia?

 14                A.           Absolutely.

 15                Q.           In Taliaferro County?

 16                A.           Absolutely.

 17                Q.           And for how long have you been a

 18      registered voter there?

 19                A.           2008.

 20                Q.           Okay.       Mr. Martin, can you explain to

 21      me how you first got involved with True the Vote?

 22                A.           That's -- I got a call from James



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   1     Cooper.

   2               Q.           Okay.       And, how do you know

   3     Mr. Cooper?         Or, did you know Mr. Cooper, before he

   4     reached out to you?

   5               A.           Mr. Cooper was with the GOP, in

   6     Georgia.       And, I believe he was associated with the

   7     10th District.          And I had met him previously at my

   8     residence when he delivered signs.

   9               Q.           Okay.       And did you have a

 10      relationship with Mr. Cooper beyond that, at that

 11      point?

 12                A.           No.

 13                Q.           And so, you said you received a phone

 14      call from him.          Do you recall roughly when that was?

 15                A.           No, I don't.            All that, I believe is

 16      in my written deposition, which I do not have in

 17      front of me.         You know -- to be precise I don't know

 18      exactly when -- that would be on the E-mails or the

 19      deposition.

 20                Q.           Okay.       I believe you're referring to

 21      the written discovery responses that you submitted.

 22      Is that correct?



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                                                                                 Page 18
   1               A.          Yes, I believe so.

   2               Q.          Okay.        We may cover some things today

   3     that are included on that, and it's totally fair if

   4     you don't recall, you can -- you can say you don't

   5     know or you don't recall.                  But, I do want to cover

   6     some things that may touch on those discovery

   7     responses that you've already submitted responses to,

   8     all right?

   9               A.          Do you want me to dig up a copy of

 10      that so that I can quote that precisely?                          I mean, I

 11      don't think its --

 12                Q.          There's no need, Mr. Martin.                  I

 13      actually have a copy of that.

 14                A.          I mean the dates and even the times

 15      on all of those are in that package, somewhere.

 16                Q.          That's fair.             And, I actually have a

 17      copy of your responses here, that if we need to

 18      reference them today, I can mark those as an exhibit

 19      and pull them up.

 20                            I want to return quickly to the call

 21      you received from Mr. Cooper.                     Can you give me a

 22      ballpark estimate around roughly that may have been



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   1     just, for the record?               It doesn't have to be precise.

   2                           MS. KRAMER:            Counsel, can I just

   3     clarify for my client real fast?

   4                           MS. TAYLOR:            Sure.

   5                           MS. KRAMER:            Joe, if you don't

   6     recall, that's -- it's okay to say that.                          It's okay.

   7     You don't need the papers in front of you right now.

   8     Just whatever you remember right now, during this

   9     deposition, that's how you should answer.

 10                            THE WITNESS:             Well, I want to be

 11      precise.       And, it's written down, you have the -- I

 12      believe you have a specific timeline of any

 13      interactions that I had with James, James Cooper.

 14      It's, you know.

 15                Q.          Mr. Martin, just to be clear, I'm not

 16      asking for a precise date.                   Just roughly the month,

 17      year, even, that you may have spoken with him.                          And

 18      you mentioned that this was a phone call, for

 19      example.

 20                A.          It was during the election cycle.

 21                Q.          Okay.        And, when you say "election

 22      cycle" are you referring to the general election, or



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   1     the runoff election, or both?

   2               A.           I believe it was the runoff election.

   3               Q.           Okay.       So, the runoff election was in

   4     January of 2021.            Would you say you spoke with Mr.

   5     Cooper that month?             Or, the month before, perhaps?

   6     Roughly speaking.             It doesn't have to be precise.

   7               A.           Now, again, it's in the written -- I

   8     believe there's a complete timeline in the written

   9     documentation.

 10                Q.           Okay.       And it's okay if you don't

 11      remember, Mr. Martin.

 12                A.           I mean if you want to ask me -- if

 13      you want to quote what I said in the written

 14      documentation, I'll verify that.

 15                Q.           Understood, Mr. Martin.                    We can move

 16      on.

 17                             Did -- can you explain to me what

 18      you -- what that phone conversation with Mr. Cooper

 19      entailed?

 20                A.           I believe our initial conversation

 21      was he asked me to find a voter who would be willing

 22      to challenge out-of-state/out-of-county voters.



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                                                                            Page 21
   1               Q.           And by "voters" you mean, voters who

   2     are registered in the state and in the county?

   3               A.           No, someone who is registered in

   4     Taliaferro County.

   5               Q.           Okay.       But was actually out of state

   6     or out of the county?

   7               A.           No.     Someone who was a registered

   8     voter, living in Taliaferro County, who would be

   9     willing to challenge voters who presumably did not

 10      live in the county or in the state.

 11                Q.           Okay.       I think we were saying the

 12      same thing there, just a little bit differently.

 13                             When Mr. Copper reached out to you

 14      asking you to identify a voter, did he represent to

 15      you that he was affiliated with True the Vote in any

 16      way?

 17                A.           No.

 18                Q.           Okay.       In what capacity did he reach

 19      out to you, with this request?

 20                A.           I was under the impression he was

 21      reaching out to me as a member of the 10th District

 22      GOP.



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                                                                                  Page 22
   1               Q.           Okay.       And are you a member --

   2               A.           On the initial -- on the initial

   3     request.

   4               Q.           And are you a member of the 10th

   5     District GOP as well, Mr. Martin?

   6               A.           At the time I was the chairman of the

   7     Taliaferro County GOP.

   8               Q.           And for how long were you in that

   9     position?

 10                A.           Probably four years.

 11                Q.           And, you said "at the time."                 So, you

 12      are no longer the chairman; is that correct?

 13                A.           That is correct.

 14                Q.           And, when did that tenure end?

 15                A.           I guess it was February this year.

 16                Q.           Do you have any record of that

 17      initial phone call you received from Mr. Cooper?

 18                A.           You mean did I record it?                  No.

 19                Q.           For example, did you take any notes

 20      or did he send you any documents?

 21                A.           I believe we began corresponding by

 22      E-mail after that.



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                                                                            Page 23
   1               Q.          Okay.

   2               A.          And, all of those E-mails are in the

   3     package that -- whatever you call it, the written

   4     deposition or whatever you call it.

   5               Q.          And, can you tell me what the result

   6     of that phone call with Mr. Cooper was?

   7               A.          Well, at the -- at the time, you

   8     know, I felt that he was asking for something that

   9     was important.          If there was a presumption that

 10      people were voting who do not live in the county, or

 11      the state.        So, I told him I thought it was my

 12      responsibility to do that, to take any action.

 13                Q.          So, you agreed to help Mr. Cooper in

 14      finding someone who would be able to challenge voters

 15      who --

 16                A.          Yes.

 17                Q.          Okay.        And, were you able to identify

 18      someone to take that role?

 19                A.          Yeah, me.

 20                Q.          Okay.        And, we'll get into that in a

 21      little bit.

 22                            You mentioned having received a



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                                                                                  Page 24
   1     couple of E-mails from Mr. Cooper.                         Were any of those

   2     E-mails -- I'll say -- an outreach E-mail of sorts?

   3     Similar to the phone call that you're describing that

   4     you had with him?

   5               A.          I don't know what "outreach" means

   6     now.

   7               Q.          For example, did he follow up that

   8     phone call with you with any kind of E-mail outlining

   9     what he was asking you to do?

 10                A.          Yeah.        Again, all that is in the

 11      written testimony.             There's a complete E-mail

 12      exchange, you know.              I believe he sent a listing of

 13      37 people who had been judged to be out of county or

 14      out of state.

 15                Q.          And we -- we have a copy of some of

 16      those and we will go over them today.                             I was just

 17      trying to get a high level understanding of this

 18      initial interaction that you had with Mr. Cooper.

 19                            So, you said your understanding he

 20      wasn't affiliated with True the Vote at the time.                              At

 21      what point did you learn there was a affiliation with

 22      True the Vote for this process?



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                                                                                Page 25
   1               A.           At some point in time in

   2     transmitting -- in our discussions.                          E-mail

   3     discussions.

   4                            And I believe you'll see that, again,

   5     in the E-mail transcripts.                    He clarified that he was

   6     not acting as 10th District GOP.                        I guess he was the

   7     third vice chairman or something like that.

   8                            The specifics, again, are in the

   9     documentation.

 10                Q.           And had you heard of True the Vote

 11      before this?         Before he --

 12                A.           No.

 13                Q.           -- before he -- okay.

 14                             Had you heard of Catherine

 15      Engelbrecht?

 16                A.           No.

 17                Q.           And what about the group OPSEC?

 18                A.           Who?

 19                Q.           Opsec, O-P-S-E-C.                Are you aware of

 20      who that -- what that group is?

 21                A.           Nope, never heard of the word before.

 22                Q.           Okay.       And, did you work directly



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                                                                               Page 26
   1     with anyone at True the Vote, aside from James

   2     Cooper, during this process of challenging voters in

   3     Taliaferro County?

   4               A.           No.

   5               Q.           Okay.       Did you work with anyone named

   6     Greg Phillips?

   7               A.           Never heard of that name before.

   8               Q.           Okay.

   9                            MS. TAYLOR:            Mr. Marte, can you pull

 10      up --

 11                             THE WITNESS:            Martin, Martin,

 12      M-A-R-T-I-N.

 13                             MS. TAYLOR:            Right.        I'm referring to

 14      Mr. Marte who's our -- our hot seater today.

 15                             Can you pull up Defendant Cooper 0088

 16      and mark it as the first exhibit, please.

 17                             (Whereupon, Exhibit 1, E-mail String

 18      beginning Bates No. Cooper 0088 was marked for

 19      identification.)

 20      BY MS. TAYLOR:

 21                Q.           Can you see that, Mr. Martin?

 22                A.           I can.



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                                                                            Page 27
   1               Q.          Okay.        This is a two-page document.

   2     If you could take a look at this document and let me

   3     know when you have a chance or when you're finished.

   4                           THE TECH:           Just let me know when to

   5     go to the next page.

   6                           THE WITNESS:             Next page.

   7               A.          Correct.

   8               Q.          Okay.        And, if we could return to the

   9     first page.

 10                            MS. TAYLOR:            Also, Henry, is it okay

 11      if I call you Henry today; to avoid any confusion

 12      with Mr. Martin's last name?

 13                            THE TECH:           Yeah, never -- you don't

 14      have to call me Marte.                It makes me feel old.

 15                            MS. TAYLOR:            Will do.

 16      BY MS. TAYLOR:

 17                Q.          Mr. Martin, can you explain to me

 18      what's going on in this E-mail?

 19                A.          Again, Mr. Cooper asked me to find a

 20      registered voter to challenge 37 people -- Taliaferro

 21      County registered voter who would challenge 37 folks

 22      in Taliaferro County.               And, there was some urgency to



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                                                                                 Page 28
   1     this.     I believe we were a week into the absentee

   2     ballot -- balloting at this time, now that I see the

   3     date.

   4                            I told Mr. Cooper that, you know, as

   5     chairman of the Republican party, it would probably

   6     be my responsibility to do that.

   7               Q.           Okay.

   8               A.           So I signed this at the time.

   9               Q.           And this is you giving Mr. Cooper

 10      permission to use your name as a challenger to those

 11      letters?

 12                A.           Yes.

 13                Q.           Okay.

 14                A.           Of the 30 -- of the 37 individuals.

 15                             Do you have that list of the 37

 16      individuals?

 17                Q.           I do, Mr. Martin.                And we'll pull it

 18      up in a little bit here.                  And we can go over that

 19      then.

 20                A.           Okay.

 21                Q.           Did you look for anyone else in

 22      particular to serve as the challenger?                            Or did you



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                                                                            Page 29
   1     volunteer kind of from the get-go to be that person?

   2               A.          No, I believed it was my

   3     responsibility, and I did not want to put the onus on

   4     anyone else.

   5               Q.          Okay.        And what --

   6               A.          I was not aware of the -- you know,

   7     as you asked me earlier, about the election rules.

   8     You know, I had not studied Georgia election rules

   9     and that sort of stuff.                 This just seemed to be the

 10      right thing to do.             If people don't live in the

 11      county, they probably shouldn't be voting there.

 12                Q.          And in that same vein, Mr. Martin,

 13      had you served as a challenger to anyone -- to

 14      anyone's eligibility to vote before?

 15                A.          No.

 16                Q.          Okay.        Why did you -- you mentioned

 17      that it was -- you felt it was your responsibility to

 18      be the challenger.             Can you explain that a little bit

 19      to me, what you mean by that statement?

 20                A.          I was -- I was chairman of the GOP at

 21      that time.

 22                Q.          Okay.        And, can you explain to me why



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                                                                             Page 30
   1     that fact is important?

   2               A.           Well, again, going back to our

   3     initial conversation, I believe James -- I was under

   4     the impression James was calling me from the GOP, at

   5     the time.       And, you know, if people were voting that

   6     didn't live here, that was significant.

   7               Q.           And --

   8               A.           We only have 1,200 voters in the

   9     county.        A couple voters -- we've had many elections

 10      in the county, where one or two votes make a big

 11      difference.

 12                Q.           I'll bet.

 13                A.           A lot of elections are decided by one

 14      or two votes in this county.

 15                Q.           You said a couple of times that you

 16      were under the impression that Mr. Cooper was calling

 17      you on behalf of the GOP.                   Did that affect your

 18      decision to agree to be a challenger in Taliaferro

 19      County at all?

 20                A.           Yes.

 21                Q.           In other words --

 22                A.           But he did -- but he did clarify.                 He



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                                                                            Page 31
   1     did not -- James Cooper did not say that in the

   2     initial discussions.               And he did clarify that.

   3     Again, if you look at the document -- the -- the

   4     documentation and the timeline, he did clarify that

   5     at some point in time, although when -- when he said

   6     he was representing True the Vote I didn't know what

   7     the heck that was, and that's what caused me to

   8     validate the list of 37.                  You know, my question was:

   9     Well, how did you get this 37; how did you get these

 10      people?      And, how do we know this is correct before I

 11      do this?       We need to know that there is some, you

 12      know, authoritative procedure that, you know, that

 13      generated this list.

 14                Q.          And you've produced documents to that

 15      effect, Mr. Martin.              And we'll get into those in a

 16      bit.

 17                            In other words, though, had you not

 18      been under the impression that Mr. Copper was calling

 19      you on behalf of the GOP, would you have agreed to

 20      serve as a challenger, do you think?

 21                A.          Looking at all the trouble that

 22      has -- that that has caused, no.



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                                                                              Page 32
   1               Q.          So in hindsight, you wouldn't -- you

   2     wouldn't have agreed to be a challenger?

   3               A.          As -- as -- the documentation that

   4     you -- you have put up here shows that on

   5     December 17th, I believe, at 3:38, at that moment in

   6     time, I said yes.            If you'll -- if you'll look at the

   7     documentation, there is a whole discussion in -- in

   8     the answer of one of the questions, that explained

   9     how I attempted to validate the information that they

 10      had provided me, because I asked them for the entire

 11      listing of 37 people.               And I don't have the date in

 12      front of me when I got that, or the time.                         But I

 13      attempted to validate myself, that this was

 14      worthwhile.        And -- and I took a separate action, and

 15      then I retracted this permission at a later date; I

 16      believe on the 20th of December.                        But again, I'm

 17      not -- I'm just trying to recall.                        I don't have the

 18      timeline in front of me.

 19                Q.          Understood.            And I don't -- like I

 20      said, we'll get into all of that in a bit.                        I don't

 21      want to get too far ahead of ourselves, though.                           So

 22      just returning to your --



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                                                                            Page 33
   1               A.          You -- go ahead.

   2               Q.          I'm sorry, you can say what you were

   3     going to say.

   4               A.          No.

   5               Q.          I just wanted to return quickly to

   6     your initial interaction and agreeance to serve as a

   7     challenger in Taliaferro County here for a minute, if

   8     we could.       Did you -- what was your understanding of

   9     the challenge process at this time when you agreed

 10      to -- to serve as the challenger for Taliaferro

 11      County?

 12                A.          Well, when I agreed to this, I had no

 13      idea what it was.

 14                Q.          Okay.        Did anyone explain to you,

 15      either from True the Vote, or Mr. Cooper himself,

 16      about what -- what the process might entail?

 17                A.          Again, you know, things were moving

 18      very quickly.         And, I probably wasn't as fully

 19      informed, myself personally, what it meant.                       I know a

 20      lot more now.         So, it's a little difficult to

 21      separate what I knew at that -- at that moment, from

 22      what I know now.



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                                                                            Page 34
   1               Q.          That's fair.             Do you recall any

   2     conversations with Mr. Cooper explaining to you the

   3     process, though?

   4               A.          I believe at this point, we were

   5     communicating by E-mail.                  I don't believe we spoke

   6     specifically on the phone.                   So again, everything that

   7     that -- that he provided me, and everything that I

   8     provided him should be in your written documentation.

   9               Q.          Okay.        Do you recall --

 10                A.          And again, I think there is a

 11      timeline in there, a discussion, a specific paragraph

 12      that outlines the actions that I took specifically

 13      with regards to individuals who did not live in

 14      Taliaferro County, do not reside in the state of

 15      Georgia, who -- who I had attempted to find out if

 16      they had actually voted.                  And -- and I took specific

 17      actions with regards to three individuals.

 18                Q.          Right.

 19                A.          And that's outlined in the

 20      documentation.

 21                Q.          Like I said, Mr. Martin, we will go

 22      over those documents.               I'm just -- and we'll go over



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                                                                              Page 35
   1     in depth in detail what actions you took.                         I'm just

   2     trying to get an understanding of what actions

   3     Mr. Cooper might have taken in signing you up to do

   4     these challenges; or in you agreeing to work with him

   5     to submit these challenges.

   6                           Do you recall discussing the

   7     possibility of a challenge hearing, at all, at any

   8     time with Mr. Cooper, or with anyone at True the

   9     Vote, as a result of issuing these challenges?

 10                A.          No.      I became aware of that later on.

 11                Q.          And, how did you become aware of that

 12      later on?

 13                A.          In discussions with the registrar of

 14      voting, in Taliaferro County.

 15                Q.          Okay.        Did you discuss with Mr.

 16      Cooper, or anyone at True the Vote, how to handle any

 17      follow-up that you may receive from the County, as a

 18      result of issuing these challenges?

 19                A.          No.

 20                Q.          Did you discuss with Mr. Cooper, or

 21      anyone at True the Vote, how to handle any potential

 22      media inquiries that you might receive as a result --



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                                                                                  Page 36
   1               A.          No.

   2               Q.          -- of issuing these challenges?

   3               A.          No.

   4               Q.          Did you discuss anything else in

   5     general about -- about the issuance of these

   6     challenges, aside from -- and, like I said, we'll get

   7     into -- kind of the actions that you took on your own

   8     afterwards.        But, in this initial time zone here,

   9     where you agreed to serve as at the challenger, did

 10      you have any other additional conversations with

 11      Mr. Cooper, or anyone at True the Vote, about --

 12      about the process, or what it would entail?

 13                A.          Again, you're using the word

 14      "conversations."            I do not believe we had discussed

 15      anything on the phone.                And, all the written

 16      documentation would be in the E-mail.                             And I believe

 17      you have that E-mail traffic in its entirety.

 18                Q.          Okay.        And just to be clear, when I

 19      reference conversations, I'm including E-mail, any --

 20      any kind of communication that you may have had with

 21      anyone at True the Vote, or Mr. Cooper.                            Does that

 22      make sense?



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                                                                              Page 37
   1               A.          I did not have any discussions with

   2     anyone from True the Vote, except for James Cooper.

   3                           Are you done with the text over here?

   4               Q.          Yes.

   5               A.          Good.        Okay.

   6                           MS. TAYLOR:            You can pull that down.

   7     Thank you, Henry.

   8     BY MS. TAYLOR:

   9               Q.          So, can you walk me through the

 10      process of issuing the challenges?                         And again, not --

 11      not getting into, quite yet, the specific individual

 12      actions that you took.                But, what it actually

 13      entailed, as far as submitting the challenges?

 14                A.          Please clarify.               There's -- are you

 15      speaking of the challenges that True the Vote sent in

 16      regarding to the December 13th letter, that you just

 17      had up on the screen?               Is that what you're referring

 18      to?

 19                Q.          Yes.       Mr. Martin, I believe that was

 20      dated December 17th, but --

 21                A.          I'm sorry, 17th.

 22                Q.          -- Yes.         I'm referring to the



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                                                                                 Page 38
   1     challenges that you agreed to submit, in your name,

   2     in connection with True the Vote, on behalf of

   3     Taliaferro County.

   4               A.           Okay.       Now -- now let's go back to

   5     your specific question.                 What specifically were you

   6     asking regarding that list of 37 individuals?

   7               Q.           I'm -- I'm asking if you could just

   8     walk me through what the challenge process was.                               How

   9     you would go about challenging those 37 individuals?

 10                A.           Yes.      I did nothing, with regards to

 11      the entirety of the list of 37 people.                            I believe

 12      it -- it came to -- I attempted to validate that the

 13      list was real.          And I took a different path to

 14      challenge.

 15                Q.           Can you explain that a little bit?

 16                A.           Again, it's in the -- it's in the --

 17      it's in the -- it's in the written documentation.                              I

 18      was not comfortable that -- that the -- the list was

 19      valid.      How -- how did this list come about?                        Where

 20      did this list come from?                  Who generated the list?

 21      And, I asked an individual with the 10th District

 22      GOP, I sent him the list and said:                          Can you help me



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                                                                                  Page 39
   1     out here; what's going on?                    And again, I believe you

   2     have that E-mail.

   3                            At that point in time, that

   4     individual said three of these people have already

   5     voted, have sent in absentee ballots.                             Don't ask me

   6     how they knew that.              They just said three of these

   7     people, which caused an urgency for me; that if it

   8     was true that these people did not live in the

   9     county, and that they were voting, that seemed to be

 10      not right at all.

 11                Q.           And, just to clarify what you said

 12      just then, who was it that you spoke with; who told

 13      you that three of the people on the list had already

 14      voted?

 15                A.           Again, I don't have his name right in

 16      front of me.         It's in the documentation that -- that

 17      you should have there.                 If you don't have his name

 18      there, then I'll have to go offline and try and dig

 19      out -- I don't have a copy of the written

 20      documentation, and I don't have a recollection of

 21      specifically.          I believe he was the treasurer of the

 22      10th District GOP.



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                                                                             Page 40
   1               Q.          Okay.        That's fair if you don't

   2     recall --

   3               A.          Do you have that name in -- do you

   4     have that name in the paperwork you have there?

   5               Q.          I'm not actually sure that we do.

   6     And, we can go back and look.                     But, there's no need

   7     for you to go back and look at everything.                        I'm

   8     asking you today is just what you remember sitting

   9     here today about everything that I'm asking you about

 10      today.      So, no need for you to go back and look.                     And

 11      we can certainly go back and look on our side.

 12                            MS. TAYLOR:            Henry, can you please

 13      pull up and mark as the next exhibit the document

 14      Ending in Bates 0052.

 15                            (Whereupon, Exhibit 2, E-mail String

 16      beginning Bates No. OPSEC 0052 was marked for

 17      identification.)

 18      BY MS. TAYLOR:

 19                Q.          Mr. Martin, can you see this

 20      document?

 21                A.          I can see it.              Yes, yes.

 22                Q.          Okay.        And, I know you're not on this



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                                                                            Page 41
   1     E-mail thread.          But, if I could turn your attention

   2     to the -- to the second page.

   3                            MS. TAYLOR:            Actually, Henry, if we

   4     could.      Yeah, right here.

   5     BY MS. TAYLOR:

   6               Q.           So, this is an E-mail from James

   7     Cooper at the bottom here.                    And he says, "I have one

   8     chair in the 10th that wants the names of the folks

   9     he will be challenging.                 He is the Taliaferro county

 10      Chair.      He said he wants to do it, but will not

 11      unless he sees the names."

 12                             Did I read that correctly?

 13                A.           Correct.

 14                Q.           And is that you referring to you,

 15      Mr. Martin?         Are you the Taliaferro County Chair?

 16                A.           Yes.

 17                Q.           Okay.

 18                A.           And you see please note -- please

 19      note that that sign, the "3rd Vice Chair," the "10th

 20      District Republican Party, GOP State Committee," Mr.

 21      James Cooper.

 22                Q.           Right.        And so, just for the record,



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                                                                                Page 42
   1     you're referring to James Cooper's signature in his

   2     E-mail; is that correct?

   3               A.          In the E-mail where he indicates that

   4     I want the list.            Because -- yes.

   5               Q.          And is that -- is this E-mail

   6     address, jamescooper.gop@gmail.com, is that the

   7     E-mail you would have been corresponding with

   8     Mr. Cooper on -- with?                As far as you can recall?

   9               A.          Yeah.        Again, I'd have to look at my

 10      address book right here and see if I have another

 11      address for him.            But yes, I mean, I presume so.

 12      Look at the E-mails that you have with my name

 13      corresponding to him.               Again, you have that

 14      documentation.          You're asking me to remember an

 15      E-mail address from two years ago, and you have it

 16      right in front of you.

 17                Q.          That's fair, Mr. Cooper.                    I'm just

 18      asking what --

 19                A.          Martin.

 20                Q.          Sorry, Mr. Martin.                 I'm just asking

 21      what you recall.            And you pointed out that he has

 22      that signature below his name in this E-mail.                          Why --



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                                                                                   Page 43
   1     why is it that of note?

   2               A.          Well, I'm reemphasizing that it's

   3     not -- he didn't sign that as representing True the

   4     Vote.     He signed that as Republican Party.                           I'm just

   5     em- -- just highlighting -- you've highlighted he was

   6     referring to me and I said yes.                       And I'm saying he's

   7     referring to me, but he's signing that as, you know.

   8                           MS. KRAMER:            Counsel, do you mind if

   9     we take a quick 5, 10-minute break.

 10                            MS. TAYLOR:            Yes, that should be

 11      fine.

 12                            MS. KRAMER:            Okay.       Thank you.

 13                            THE TECH:           All right.              Stand by,

 14      please.      The time is 9:50 a.m., off the record.

 15                            (Recess taken.)

 16                            THE TECH:           The time is 10:00 a.m.,

 17      back on the record.

 18      BY MS. TAYLOR:

 19                Q.          So, Mr. Martin, before we went off

 20      the record just then, we were looking at an E-mail in

 21      which it indicated that you had asked to see the

 22      names of the -- the folks you would be challenging,



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                                                                            Page 44
   1     correct?       Before you --

   2               A.           Correct.

   3               Q.           Okay.       And, did you ask to see that

   4     list of names before you agreed to serve as the

   5     challenger for Taliaferro County?

   6               A.           I believe so.             This is dated the

   7     16th.     It would be the day before I signed the --

   8               Q.           And, you'll see here Mr. Cooper

   9     writes, "He said he wants to do it, but will not

 10      unless he sees the names."

 11                             Does that sound right to you?

 12                A.           Say again.

 13                Q.           Mr. Cooper writes in this E-mail that

 14      "He said he wants to do it, but will not unless he

 15      sees the names."

 16                             I believe in reference to you?

 17                A.           Yes, yes.

 18                Q.           That sounds accurate?

 19                             Okay.       So, did you ask Mr. Cooper for

 20      this list?

 21                A.           Yes.      As I explained to you, he is

 22      the only person that I communicated with that, yes.



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                                                                            Page 45
   1               Q.          Okay.        And, what was his response to

   2     that request; when you asked to see the list of

   3     names?

   4               A.          Well, I eventually got the list of

   5     names.      Because I sent it to the -- to the treasurer

   6     of the GOP.

   7               Q.          Okay.

   8                           MS. TAYLOR:            Henry, can we pull up

   9     and mark as the next exhibit, the document ending in

 10      Bates stamp 257.

 11                            (Whereupon, Exhibit 3, List of Names,

 12      was marked for identification.)

 13      BY MS. TAYLOR:

 14                Q.          Mr. Martin, do you recognize this?

 15                A.          Not yet, no.             But I assume if we

 16      count down there, and there are 37 names on it, that

 17      would be the list that he sent me.

 18                Q.          Okay.        And I'll -- I can represent to

 19      you today, Mr. Martin, that I have counted.                       There

 20      are 37 names on this list.                   So, is it fair to say

 21      that this is the list of names that you received from

 22      Mr. Cooper?



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                                                                             Page 46
   1               A.          Yes, in some form or other.                 It just

   2     doesn't look familiar.                But, yes.

   3               Q.          Okay.

   4               A.          Those are the names.

   5               Q.          Yes.       I believe originally this must

   6     have been an Excel spreadsheet of some sort.                       And

   7     it's just been converted into a PDF here; so the

   8     formatting might be a little bit different.

   9                           When did you see this for the first

 10      time?

 11                A.          Sometime in December.

 12                Q.          And, it was Mr. Copper that showed it

 13      to you?

 14                A.          Again, Mr. Copper and I were

 15      communicating by E-mail.                  So, it would have been sent

 16      to me by E-mail.

 17                Q.          Okay.        And you mentioned having some

 18      questions about how this list was generated; is that

 19      correct?

 20                A.          Yes.       I wanted some, you know,

 21      single-source documents are -- in my line of work,

 22      when you only have a single source of validation,



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                                                                                   Page 47
   1     you -- you -- you want two sources.                           You want to know

   2     that it's a good -- how it came about.                              Where is

   3     the -- what do you call it?                     Providence, or how did

   4     it come about?           How was it generated?                     I didn't get

   5     any of that information.                   I just got this list.

   6                            Here if you have somebody, for

   7     example, Beatrice Davis Paterson, Passaic, New

   8     Jersey.        Where did that come from?

   9                            You know, Larry Ratliff, Grady,

 10      Oklahoma.       Well, I knew Larry.                  He had moved to

 11      Oklahoma.       So that validated -- well, that's somebody

 12      that actually moved.                And the next question in my

 13      mind was:       Did any of these people vote?                        Or, what --

 14      what's the process to see that they don't vote?                                If

 15      they really don't live in Taliaferro County, Georgia.

 16                Q.           So, did you ask Mr. Copper how the

 17      list was generated?               Or was that something you looked

 18      into on your own?

 19                A.           Again, I don't recall.                      You know --

 20      my skepticism of wanting to have it validated and

 21      wanting to know before I put my name on something,

 22      was, you know, I may have asked him, you saw him ask



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                                                                            Page 48
   1     somebody else for the list.

   2                           So, you know, I didn't know how this

   3     was generated.          I didn't know how you would get this

   4     information.         I know a lot more now than I did at the

   5     time.     But, at the moment when I got the list -- this

   6     list, it was just a list.

   7               Q.          Do you recall sitting here today

   8     whether or not you had a conversation, at any time,

   9     with Mr. Copper, about how the list was generated, or

 10      where the names came from?

 11                A.          Yeah.        Again, I'm -- I may have, it

 12      would be in -- if I asked him that question, it would

 13      be in the E-mail traffic.

 14                Q.          But sitting here today, you don't

 15      recall?

 16                A.          Well, I'm sure I asked him for the

 17      list.     And I'm sure in the process I said, where did

 18      you get this?         That may have been when he said, well,

 19      he got it from True the Vote.                     I don't know.   That

 20      may have been when, you know -- that other -- the --

 21      the document you just showed me, showed him asking

 22      somebody else.          It wasn't even True the Vote.              Wasn't



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                                                                                Page 49
   1     it -- was Phillips or somebody.                       And it was Austine

   2     something.        That other thing.               So, I didn't know any

   3     of that.

   4               Q.          You anticipated my next question a

   5     little bit.

   6                           Were you told anything about who

   7     generated the list?              Were you told it was True the

   8     Vote?

   9               A.          I would think so.

 10                Q.          Okay.        And you mentioned recognizing

 11      a couple of names on this list.                       Is that right?

 12                A.          Right.

 13                Q.          That you recognized at the time of

 14      your initial review of the list?

 15                A.          Correct.

 16                Q.          Can you describe for me what other

 17      independent research you may have done into the names

 18      that appeared on this list, to the extent you did

 19      any?

 20                A.          Yes.       I sent the list to -- and I

 21      don't have the name right off -- but I believe he was

 22      the treasurer of the 10th District GOP.                           And he



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                                                                            Page 50
   1     looked at the list and came back to me with three

   2     names that he said had already voted.

   3               Q.          You also mentioned -- we'll turn to

   4     those three names in a second -- but you also

   5     mentioned you had concerns with single-source

   6     documents.        Can you explain what you meant by that

   7     statement?

   8               A.          Maybe I used the wrong terminology.

   9     But, you know, when somebody sends you something and

 10      says, "trust this," and wants you to take action

 11      based on that, in my experience of working in the

 12      Department of Defense for some 30-some years, I

 13      became aware that not all the time what you see on a

 14      piece of paper is real.                 So, knowing where it came

 15      from or how it was generated is important, to give

 16      you confidence that you can take action on it.

 17                Q.          So, just to be clear, did you get

 18      clarity at any time about how this list was generated

 19      or where these names came from?                       Or you were never --

 20                A.          No.

 21                Q.          Okay.

 22                A.          I mean I researched how that might go



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                                                                                   Page 51
   1     about since then.            But, at the time, I had no clue.

   2     That's why I was asking for the list.

   3               Q.          Okay.

   4               A.          I certainly wasn't going to go

   5     validate it.         I wasn't going to take an effort to

   6     look into whether people had moved.

   7               Q.          And, when Mr. Cooper provided you

   8     this list over E-mail, he didn't explain to you how

   9     it was generated at all?

 10                A.          Again, Ms. Taylor, the specifics of

 11      the transmittals are in the E-mails.                              I can't recall

 12      what exactly was in there.                   You know, I'm trying to

 13      be precise.        So, I can't recall exactly what was in

 14      the E-mails.         You have the E-mails.                   I don't know

 15      whether he said here's the list or the list is

 16      attached or -- I don't know.

 17                Q.          Understood, Mr. Martin.                      I'm just --

 18      I was just trying to --

 19                A.          I just see -- believe you will find

 20      that I immediately turned around -- and, I believe I

 21      had an E-mail to the chairman of the 10th District.

 22      And then I believe she said check with so and so, and



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                                                                                  Page 52
   1     he's the -- turns out -- I believe he's the treasurer

   2     of the 10th District.                I think he still is.               Mr.

   3     Cooper is now the chairman of the 10th District, GOP.

   4               Q.          Okay.        So, sitting here today, do you

   5     know how this list was generated?

   6               A.          No.      Specifically, no.

   7               Q.          And you didn't at the time?

   8               A.          Specifically, at the time, absolutely

   9     not.

 10                Q.          So, can you -- walk me through

 11      chronologically, then, from the issuance of your

 12      challenges to the resolution, however that may turn

 13      out -- we'll get into it in a second.                             Was there a

 14      Broad of Elections meeting held, regarding your

 15      challenges, at any point?

 16                A.          No.      No.      Again, can we take this

 17      down so I can see you?                Are you done with this list?

 18                Q.          Sure.        We can take this down.

 19                A.          Can we just refer to this as "the

 20      list of 37"?

 21                Q.          Sure.

 22                A.          So, let me clarify.                  There's a list



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                                                                                  Page 53
   1     of 37, which -- and you showed earlier a document

   2     that said on the 17th of December at 3:38 I signed

   3     and said, "okay.            You can challenge."                   That was that

   4     list of 37.        I was never comfortable that that was a

   5     good list.        And I believe, I believe on the 20th of

   6     December I retracted, or -- or, at some point in

   7     time, I said I don't want to challenge those 37

   8     people.      And True the Vote, or somebody retracted

   9     that challenge.           And that's in an E-mail that we got

 10      later on that has some funny little E-mail address on

 11      it, that actually goes to the registrar of the -- you

 12      know, the County registrar.

 13                            So, the challenge to the 37 went in

 14      by -- went out -- and I did not find this out until

 15      we got all of the documentation, did not even know it

 16      was sent in, was sent in by True -- by somebody, and

 17      was -- and then I asked them to retract it, or not to

 18      do it.      I don't know my exact wording.                        And then they

 19      retracted it.

 20                            What I did was -- three names were

 21      identified by the treasurer of the 10th District GOP

 22      as having already provided absentee ballots.



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                                                                                 Page 54
   1                            At that point in time, I thought it

   2     was important to challenge those three individuals.

   3     Because at that point in time, I had this list that

   4     said they didn't live here.                    And I had the fact that

   5     they had already submitted absentee ballots.

   6                            I believe you have in your package

   7     three letters that I sent to both the superintendent

   8     of elections, with a copy to the registrar,

   9     identifying, I believe, the individuals' names from

 10      this list; and, I believe, the Georgia statute that

 11      says that any voter can challenge any person.

 12                             At that point in time, as the

 13      chairman of the GOP, I felt if these people didn't

 14      live in Taliaferro County, they should not be voting

 15      in Taliaferro County.

 16                             Let us call those challenges "the

 17      three challenges," that I personally took.

 18                Q.           Okay.

 19                A.           Okay.       So, we have two sets of

 20      challenges.         37 and three.

 21                Q.           Real quick, Mr. Martin.                    Just to

 22      clarify.       Those three that you took, they are a part



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                                                                               Page 55
   1     of the 37; is that correct?

   2               A.          They are individuals that are on the

   3     list of 37, yes.

   4               Q.          Okay.

   5               A.          The information that they didn't live

   6     in Taliaferro County came from the list of 37.

   7               Q.          Understood.            So, you issued a

   8     specific challenge to three of the voters that were

   9     on the list of 37, apart from the list of 37 names

 10      that were being challenged that was issued by True

 11      the Vote, with your name?

 12                A.          Correct.

 13                Q.          Okay.        And, you submitted the

 14      names -- or excuse me.                You submitted the challenges

 15      to those three specific individuals before or after

 16      True the Vote submitted the challenges with your name

 17      for the 37 as a whole?

 18                A.          Yeah.        Again you're asking me for a

 19      timeline.       To my knowledge True the Vote, James

 20      Cooper, had not submitted 37 names.                          I did not find

 21      out they actually transmitted that by E-mail at some

 22      point in time.



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                                                                              Page 56
   1                           Again, you're talking about over two

   2     or three days here, of a lot of activity.                         And I was

   3     moving in one direction to make sure that illegal

   4     votes weren't counted.                Not to be -- and I did not

   5     know what True to Vote was doing.                        So, and they did

   6     not copy me on the -- on the E-mail where they sent

   7     the 37 votes -- 37 names in.                     And you know, they --

   8     and they -- again, it was -- it looked like, when I

   9     looked at it in some package somewhere, it's some

 10      funny number, 336 something.                     You know, it looks like

 11      it's a generic E-mail that goes to every county or

 12      something.        I couldn't figure out how that worked.

 13                            Am I being clear or no?

 14                Q.          So you're not -- I think I'm

 15      following.        Just a follow-up to make sure that I'm

 16      understanding.

 17                            You were not copied on the submission

 18      of the challenges in your name --

 19                A.          Correct.

 20                Q.          -- of the 37 voters?

 21                A.          Correct.

 22                Q.          Okay.        And so, you're not sure



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                                                                                 Page 57
   1     exactly as to the exact date when that may have

   2     happened?

   3               A.           Right.

   4               Q.           That makes sense.

   5               A.           I did not become aware that they

   6     actually sent that in until we began the written

   7     deposition; when I went back and asked the county

   8     registrar under an Open Records Request for all

   9     information related to this subject matter.

 10                Q.           Okay.

 11                A.           And that was way later than anything

 12      that occurred.

 13                             At that point in time, you know, I

 14      was sort of shocked that they had actually sent that

 15      in.

 16                Q.           And, did Mr. Copper, at any point,

 17      tell you that voters who were registered in

 18      Taliaferro County but did not live in Taliaferro

 19      County weren't eligible to vote there?                            Or, how did

 20      you come to that understanding?

 21                A.           I mean is it not logical?                   I mean, if

 22      you don't live -- if your -- don't live here, you



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                                                                            Page 58
   1     shouldn't be voting here, should you?

   2               Q.           Okay.       So, you came to that

   3     conclusion logically on your own, would you say?

   4               A.           Well, I would think so.

   5               Q.           Okay.

   6                            MS. TAYLOR:            Henry, can we pull up

   7     and mark as the next exhibits -- its actually three

   8     documents, but we can look at them one at a time.

   9     The ones that ends in Bates 0001, 0002 and 0003.

 10                             THE TECH:          Okay.       So, should I bring

 11      up one first.

 12                             MS. TAYLOR:            You can bring up one

 13      first.      Yeah.      And then we can just click through

 14      them for Mr. Martin.

 15                             (Whereupon, Exhibit 4, Letter

 16      beginning Bates No. Martin 0001, was marked for

 17      identification.)

 18                             (Whereupon, Exhibit 5, Letter

 19      beginning Bates No. Martin 0002, was marked for

 20      identification.)

 21                             (Whereupon, Exhibit 6, Letter

 22      beginning Bates No. Martin 0003, was marked for



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                                                                                 Page 59
   1     identification.)

   2               Q.          Mr. Martin, let Henry know when

   3     you've had a chance to look at this and we can click

   4     to the next one.

   5               A.          Yep.       You see this is dated the 18th.

   6     You see the dates on these are -- see?                            17th and then

   7     this is dated the 18th.

   8               Q.          Uh-huh.

   9                           And, we'll go through these kind of

 10      collectively.         I just want to let you put your eyes

 11      on them.

 12                A.          Yes.

 13                            MS. TAYLOR:            Henry, could you go to

 14      0002.

 15                            THE TECH:           Got it.

 16                            MS. TAYLOR:            And then 0003.

 17                Q.          So, I assume the answer is yes.                     But,

 18      you recognize these letters, Mr. Martin?

 19                A.          Yes.       Absolutely.

 20                Q.          Okay.        And are -- these are the three

 21      individuals that you challenged on your own, separate

 22      and apart from the list of 37 that True the Vote



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                                                                               Page 60
   1     challenged on your behalf.                   Is that correct?

   2               A.          Correct.

   3               Q.          Okay.        And these are challenges that

   4     you also withdraw later?

   5               A.          Correct.

   6               Q.          Okay.

   7               A.          But they -- it was based on the

   8     information that Mr. Cooper had provided me that they

   9     did -- you'll see all the addresses are from the

 10      list -- the previous list of 37.

 11                Q.          That's right.

 12                            So you got these three names from the

 13      list of 37?

 14                A.          Right.        What was concerning me was

 15      these people are already asked for absentee ballots

 16      or had already submitted absentee ballots.

 17                Q.          Okay.        And, is this your handwriting

 18      at the very bottom of the document?

 19                A.          Which one?

 20                Q.          Well, let's do both.                   The -- let's

 21      start with the very bottom here.                        "I hereby retract

 22      this challenge."



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                                                                                  Page 61
   1                           Is that your handwriting and

   2     signature?

   3               A.          Absolutely, yes.

   4               Q.          Okay.        And then, the handwriting

   5     right above that, whose is that?                        Do you know?

   6               A.          The -- I believe that's Ms. Vivian

   7     Miller, the Taliaferro County Voter Registrar.

   8               Q.          Okay.        So, can you walk me through

   9     the withdrawal process for these challenges?

 10                            Let's start with, how you came to the

 11      decision to withdraw each of these three?

 12                A.          Let's go to 001 first.                      So, I gave it

 13      to him on the 17th.

 14                Q.          Okay.

 15                A.          And it was my under -- I didn't know

 16      who Beatrice Davis was.                 You know, I would never

 17      recognize her.          But the list said she was living in

 18      Patterson, New Jersey.                And, Georgia Code 22-230 says

 19      any person has a right to challenge a person that is

 20      not living in the county.                  So, I challenged it as

 21      chairman of the Georgia Republican Party.                            I didn't

 22      know whether she was a Republican or a Democrat or



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                                                                                 Page 62
   1     what.

   2               Q.           Okay.

   3               A.           And that's my voter ID.                    Georgia code

   4     says any registered voter -- I'm a registered voter.

   5     And I sent it to the superintendent of elections --

   6     it probably should have gone directly to the Voter

   7     Registrar.        Judge Stevens, who's the superintendent

   8     of elections, called up Mrs. Davis.                          Said she lives

   9     in Taliaferro County.                Ms. Vivian Milner told me

 10      that.     You know, who was I to disagree with a judge,

 11      who was validating that somebody lived in Taliaferro

 12      County.      So I went, oh, and -- and on the 18th

 13      retracted the challenge.

 14                Q.           Okay.

 15                A.           So -- and that definitely made me

 16      concerned about the list of 37.

 17                Q.           And, at this time, Mr. Martin, you

 18      still weren't aware if True the Vote had submitted

 19      that list of 37 challenges with your name on it yet,

 20      right?

 21                A.           I was not aware that True to Vote

 22      submitted the list of 37 until an Open Records



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                                                                                   Page 63
   1     Request by me sometime in January.                         True the Vote

   2     never CCed me on anything, nor informed me, to my

   3     knowledge, that they had submitted it.

   4                           And, in the process of discussing

   5     this with Mrs. Milner, she indicated to me, when they

   6     received this, probably on the 18th, when -- when we

   7     talked about this, she said they would schedule a

   8     hearing and I would have to validate that she did not

   9     live -- that these people did not live here.                              And I

 10      said no, that's not what -- then we read Georgia law.

 11      Georgia law says it's the registrar's responsibility

 12      to validate where somebody lives.                        But, since Judge

 13      Stevens, on this particular case said they don't live

 14      here -- I mean she said they live here.                             I was not

 15      going to argue with the judge.                      Right?         I mean, who's

 16      going to argue with a judge.                     Right?           So, I retracted

 17      the challenge.

 18                            And then began to question, oh boy,

 19      now what's the list of 37, the validation of the 37.

 20                            Do you want to go to 002?                      Or do you

 21      have any questions about this one?

 22                Q.          We can move on to 002.                      I have a



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                                                                                    Page 64
   1     couple of questions about the whole process, but

   2     let's get through why you withdrew each of these,

   3     specifically first.

   4               A.          Sure.        Again, this is Simons and the

   5     current residence was Greene County.                              So, I

   6     challenged that.            If you live in Greene County, you

   7     ought to vote in Greene County.                       The Taliaferro

   8     County tax commissioner, Ms. Milner went to the

   9     Taliaferro County tax commissioner, and the tax

 10      commissioner said that Mr. Clifford has a homestead

 11      exemption on a house in this County.

 12                            Well, the law says if you have a

 13      homestead exemption, that's your residence.                               Even

 14      though they were living in and residing in Greene

 15      County.

 16                            Well, I wasn't going to argue that

 17      the homestead exemption was illegal or inappropriate.

 18      So, how could I argue with that?                        Even though they

 19      were living in a different county.                         They had claimed

 20      a homestead exemption in Taliaferro County.                               The law

 21      says that the homestead exemption makes them --

 22      that's their residence.                 I don't have -- she didn't



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                                                                                   Page 65
   1     write down the law -- maybe she did.                              21-217 of the

   2     Georgia code.

   3                            So, again, here was information

   4     provided by True the Vote, that -- okay, yeah, they

   5     didn't live here, but -- gee.                      Legally you're not

   6     going to win this case.                 So, I retracted the

   7     challenge.

   8               Q.           Okay.

   9               A.           Are we on the third one?

 10                             MS. TAYLOR:            Yeah.       Henry, can we

 11      pull up 0003, please?

 12                Q.           And, the third one.

 13                A.           And, I must say, through this process

 14      Ms. Milner, the registrar, you know, we were working

 15      together.       She was very proactive, you know.                         And we

 16      were working -- it wasn't an adversarial

 17      relationship, so to speak.

 18                Q.           Okay.

 19                A.           Okay.       Melba Carmichael, again -- the

 20      list of 37 showed her living in Wilkes County.                               She

 21      had actually asked for an absentee ballot in

 22      Taliaferro County.             She had lived in Wilkes County.



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                                                                                Page 66
   1     Mrs. Milner called her.                  She asked that her name be

   2     removed from the Taliaferro County list.                           And, at

   3     this time, her ballot was rejected.                           Because she

   4     lived out of county, tried to vote in the county

   5     and -- but she lived -- she was a resident of Wilkes

   6     County.        So, therefore, I was happy with that.                      I

   7     retracted the challenge.

   8               Q.            Just to be clear, you said she asked

   9     for the name to be removed.                     Are you referring to

 10      Ms. Carmichael or Ms. Milner asked --

 11                A.            I'm going to read what's -- what

 12      Ms. Milner unsigned says, "Voter requested name be

 13      removed from Taliaferro County voter registration

 14      list.     21-2-232(a)."             I believe that's the Georgia

 15      code says if you don't live in the county, you can't

 16      vote.     "Ballot voted in 1/5/21 election rejected.

 17      21-2-230(g)."

 18                              So, I believe this is Ms. Milner's

 19      writing.       And I believe at that point in time,

 20      undated, I withdrew the challenge.                           Because I was

 21      satisfied that they had taken action, appropriate

 22      action.      So 33 percent of the test cases that I've



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                                                                            Page 67
   1     tested had voted basically illegally, in my mind.

   2     And 66 percent of them, in my mind, were

   3     questionable.         Two-thirds of the -- of the test cases

   4     -- looking at the three test cases, 66 percent of

   5     them, in my mind, didn't live in the county, but had

   6     voted in the county.               33 percent of them, one-third

   7     of them, the ballot, at this point in time was

   8     rejected.

   9               Q.          Okay.

 10                A.          Based on those, not my -- my

 11      challenge, but those laws, I believe 21-2-232 and

 12      21-2-230, are Georgia laws.                    I believe that all that

 13      was written by Mrs. Milner, the -- the Taliaferro

 14      County voter registrar, chief registrar.

 15                Q.          So it was your belief that 66 percent

 16      of these three test cases, in other words, two out of

 17      the three were people who voted in Taliaferro County

 18      but were not residents of Taliaferro County, but the

 19      votes were still legal; is that right?

 20                A.          No, no, no.            66 percent of the three

 21      test cases, in my mind, had voted in Taliaferro

 22      County.      And, of those 66 percent -- 66 percent, a



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                                                                                    Page 68
   1     third of them, one of them was rejected.                               The other

   2     one, in my mind, shouldn't have voted in Taliaferro

   3     County.        But, I didn't have grounds to argue that

   4     point.      Because the law says, if you have a homestead

   5     exemption, that's your residence.                         So, I would have

   6     to argue that they didn't have a legal homestead

   7     exemption before I could argue that they voted

   8     illegally.        So, anybody that has -- say somebody has

   9     a house here in Taliaferro County and they moved to

 10      anywhere in Georgia; if they maintain a homestead

 11      exemption in Taliaferro County, they can vote in

 12      Taliaferro County even if they never live here.                               The

 13      homestead exemption may be inappropriate or illegal;

 14      but the law says that that's their residence, as I

 15      understand it.

 16                Q.           Okay.

 17                A.           So, you can see from these, as I call

 18      them, test cases, there's a lot of nuances to all of

 19      this.     You know, it's not clear-cut.                            It's not, yeah,

 20      you have an address out of -- you have an address

 21      that's not in the county, but it's not clear-cut

 22      that -- that the individual has a right to vote in



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                                                                            Page 69
   1     the county or not to vote in the county.

   2               Q.          Right.        And, you mentioned that after

   3     having submitted these three test cases and

   4     withdrawing them after running down with Ms. Milner

   5     and with Judge Stevens, their residencies, that it

   6     raised concerns for you about the list of 37 that was

   7     provided to you by True the Vote; is that right?

   8               A.          Absolutely.

   9               Q.          And you've kind of covered this

 10      already, but can you just reiterate for me what those

 11      concerns were?

 12                A.          Well, as we discussed in the first

 13      case, you know, there was information from True the

 14      Vote that said this person lived in Patterson, New

 15      Jersey.      And Judge Stevens called her up in

 16      Taliaferro County and talked to her and said she

 17      lives in Taliaferro County.                    Who's going to argue

 18      with a judge?         I mean --

 19                Q.          Right.

 20                A.          -- that's pretty -- as I said, that's

 21      an oh, star, star, star.

 22                            MS. TAYLOR:            Henry, you can pull this



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                                                                                Page 70
   1     exhibit down.         Thank you.

   2     BY MS. TAYLOR:

   3               Q.          And, so you had these concerns after

   4     submitting these test cases.                     Did you share those

   5     concerns with anyone at the time?

   6               A.          Not -- not in specifically because

   7     this was over probably a couple of days, you know.

   8     And I was working back and forth with Ms. Milner,

   9     learning about what it takes to -- you know, were we

 10      going to have a hearing for each of these individuals

 11      cases?      Was she going to follow the -- the laws to

 12      send letters to them?               How was she -- you know, how

 13      were we going to work through this?                          We had, you

 14      know, kind of discussions.                   We were both learning.

 15      She had never had anybody challenged before.                          And I

 16      certainly had never challenged anybody.                           So, we were

 17      both learning how do you go through the process and

 18      what's the appropriate way to do that.

 19                Q.          Okay.        And, did she mention to you at

 20      any time that they had also received challenges from

 21      True the Vote with your name on it?

 22                A.          No.



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                                                                             Page 71
   1               Q.          Okay.

   2               A.          Again, that did not become -- I did

   3     not become aware of that until an open records

   4     request in January, for all the information

   5     pertaining to this particular subject.

   6               Q.          And while we're on that, can you

   7     explain to me why you made that specific open records

   8     request in January?

   9               A.          Well, wouldn't you want to know

 10      what -- you know, I wanted all the information that

 11      they had regarding to what we had done; so that I

 12      would be accurate in my response.

 13                Q.          In your response to --

 14                A.          To the, whatever you call it,

 15      subpoena, deposition or request that your clients

 16      asked of me.

 17                Q.          Got it.

 18                            MS. TAYLOR:            Okay.       Henry, can we

 19      pull up 0005, please.

 20                            (Whereupon, Exhibit 7, E-mail String

 21      Bates No. Martin 0005 was marked for identification.)

 22      BY MS. TAYLOR:



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                                                                            Page 72
   1               Q.          Mr. Martin, take a look at this

   2     E-mail for me, if you would.                     And let me know once

   3     you've had a chance to look at it.

   4               A.          Yep.       Okay.

   5               Q.          Okay.        So, this looks like it's an

   6     E-mail from you to James Cooper and John Marsh on

   7     December 20th at 9:13 a.m.?

   8               A.          Yes.       Right.        And again, John Marsh,

   9     I believe is the -- is, and was, the treasurer of the

 10      10th District Georgia GOP.

 11                Q.          Okay.        You anticipated one of my

 12      questions there.            So, John Marsh was not affiliated

 13      with True the Vote; is that correct, as far as you

 14      were aware?

 15                A.          No.

 16                Q.          He's the one who you showed the list

 17      to, and told you that these three voters had already

 18      voted, in the runoff election?

 19                A.          Correct.

 20                Q.          Okay.

 21                A.          And even at this point, I again did

 22      not know who John Marsh was.                     I was just directed to



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                                                                             Page 73
   1     him by the 10th District GOP as a coordinator.                        As

   2     you can see, it's jmarsh@prodpartners.com.                        There's

   3     no way of knowing.             And you see it's

   4     jamescooper.gop@gmail.                So, that validates your

   5     earlier question.            And I was communicated with him as

   6     jamescooper.gop@gmail.com.

   7               Q.          But just to clarify, while it wasn't

   8     clear at first, at this point, you were aware that

   9     James Cooper was working with True the Vote, right?

 10                A.          Correct.

 11                            MS. TAYLOR:            Okay.       Can we pull up

 12      and mark as the next exhibit 0181.

 13                A.          And just to validate what I -- what

 14      is in the -- oh, you've already changed it.

 15                Q.          Right.        We're going to go back to

 16      that.

 17                            (Whereupon, Exhibit 8, E-mail String

 18      beginning Bates No. Def. Cooper 0181 was marked for

 19      identification.)

 20      BY MS. TAYLOR:

 21                Q.          I just want to show you two more

 22      documents that appear to be iterations, if you will,



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                                                                               Page 74
   1     of the same E-mail that you sent to James Cooper and

   2     John Marsh.

   3               A.           Okay.

   4                            MS. TAYLOR:            So, that's this one.

   5     And then, also 0187.

   6                            (Whereupon, Exhibit 9, E-mail String

   7     beginning Bates No. Def. Cooper 0187 was marked for

   8     identification.)

   9                            MS. TAYLOR:            Henry, if you can pull

 10      that up and mark it as the next exhibit as well.

 11                             THE WITNESS:            Whoa, whoa.        Do I -- I

 12      want to read that because I've never seen that

 13      before.

 14                             MS. TAYLOR:            Sure.       You can go back,

 15      Henry.      Sorry.

 16                             THE TECH:          Sure.       Give me one second.

 17                             THE WITNESS:            You're going to back

 18      up?    May I have time to read this?

 19                             MS. TAYLOR:            Sure.       And I think it

 20      might be on two pages.                 So, let Henry know when

 21      you're ready to scroll.

 22                             THE WITNESS:            Oh, so this is a letter



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                                                                            Page 75
   1     from me to -- can you go -- I can't see.

   2     BY MS. TAYLOR:

   3               Q.          Are you able to see both pages of the

   4     document side by side?

   5               A.          Okay.        Let me -- okay.

   6               Q.          Okay.        Mr. Martin, and would you

   7     agree that this E-mail that you sent on December 20th

   8     at 9:54 a.m. to Amy Holsworth copying James Cooper,

   9     it's a version of the same E-mail we just looked at

 10      previously; is that correct?

 11                A.          Right.

 12                Q.          Okay.        And, if we could turn to 0187

 13      now --

 14                A.          But -- but I do not recall -- I'm

 15      certainly clear that it says it's from me; but I do

 16      not recall who Amy Holsworth, Amy@truethevote is, or

 17      was.

 18                Q.          Okay.        This is the next E-mail.          Take

 19      a look at it.

 20                A.          Right.

 21                Q.          Okay.        And, is this also an E-mail

 22      similar to the last two?



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                                                                            Page 76
   1               A.           Correct.

   2               Q.           Okay.       And this one is sent to

   3     Catherine Engelbrecht, copying James Cooper on

   4     December 20th at 9:45 a.m.; is that right?

   5               A.           That's what it looks like.

   6               Q.           Okay.       So, these last two E-mails,

   7     you sent within the hour of the first one that we

   8     looked at.        Do you know why you followed up with

   9     these later two E-mails?

 10                A.           No.

 11                Q.           But you see that they are sent to

 12      different people; is that right?

 13                A.           Right, and I -- as I said earlier, I

 14      was not -- I'm not aware -- I was not aware that I

 15      sent anything to True the Vote.

 16                Q.           Okay.       Do you know who Catherine

 17      Engelbrecht is?

 18                A.           She's True the Vote.

 19                Q.           And when you say "she's True the

 20      Vote," what do you mean by that?

 21                A.           Her name, you know, when you get

 22      anything from True the Vote, her name is on it.



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                                                                                  Page 77
   1               Q.          Okay.

   2                           MS. TAYLOR:            Let's pull back up the

   3     first one, if we could, Henry.                      It's 0005.         Just --

   4     we'll just go over that one.

   5     BY MS. TAYLOR:

   6               Q.          In all three of these, Mr. Martin,

   7     you write, "Impact of challenges.                        Not good!"

   8                           What -- what did you mean by that

   9     statement?

 10                A.          Well, you know, they were --

 11      supposedly didn't live in the county.                             You know, the

 12      data -- again, this is the two-source validation of

 13      the data.       You had a list of 37 people.                       I tested

 14      three of them.          One of them sure didn't look like she

 15      lived in Patterson, New Jersey.                       The other one didn't

 16      live in the county, but she had a homestead exemption

 17      here, so that was a little iffy.                        And then, the third

 18      one, at this point in time, there was no resolution

 19      yet.     But in my mind, you know -- but then when we

 20      got the resolution of the third one, one-third of the

 21      people that were tested did not live in the county

 22      but had voted in the county.                     So one-third, you know,



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                                                                                  Page 78
   1     I don't know if that's good or bad.                          You know, in

   2     batting averages, that's pretty good.                             But, some

   3     other averages, that's not very good.

   4                           So, I was just providing feedback

   5     that, hey -- you know, I didn't want to be -- I

   6     didn't know what the list of 37.                        And, after the

   7     experience of working with the registrar, I didn't

   8     want to put her through the painful process of

   9     validating those 37 individuals.

 10                Q.          Okay.

 11                A.          And believe me, at this point, I did

 12      not know they had already submitted 37.

 13                Q.          Right.

 14                A.          This was my way of checking the list.

 15                Q.          Right.        You highlight for Mr. Cooper

 16      and Mr. Marsh here, that "Ms. Davis is 100 years old

 17      and not living in Patterson, NJ."

 18                            And based on that, you retracted the

 19      challenge.        Can you just, I know this is very basic,

 20      but state for me why that fact was important?

 21                A.          Well, the superintendent of elections

 22      confirmed -- you know, she called up -- you know, she



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                                                                                  Page 79
   1     took it personal that I had challenged this lady.

   2     And she called her up and said where do you live?

   3     And the lady said, you know, I'm not living in

   4     Patterson, New Jersey.

   5               Q.          Okay.

   6               A.          What would you do?                 I mean, I

   7     retracted the challenge.

   8               Q.          But the fact that she was not living

   9     in Patterson, New Jersey, what did that mean to you?

 10                A.          Well, at that point in time, it made

 11      me question the list -- the list of 37.

 12                Q.          Because it implied that she was, in

 13      fact, living in Taliaferro County and was

 14      appropriately registered there?

 15                A.          Right, the superintendent of the --

 16      the first line, highlight the first line.                            Beatrice

 17      Davis listed as out of state.                     But the superintendent

 18      of elections confirmed Mrs. Davis is living in

 19      Taliaferro County with a personal phone call to her

 20      Taliaferro County address.                   How can you argue with

 21      that?     I wasn't going to call her up.                          I certainly

 22      wasn't going to drive by her address to see if she



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                                                                                  Page 80
   1     was living there.            But the judge did.                   The probate

   2     judge did.        How could you argue with that?

   3               Q.          And then you end that paragraph about

   4     Beatrice Davis in parentheses, "(Not sure where the

   5     out of state residence information came from.                            But it

   6     appears incorrect)."

   7                           Did I read that right?

   8               A.          You absolutely read that right.

   9               Q.          Okay.        And then in the next

 10      paragraph, this kind of summarizes what you found

 11      out?

 12                A.          Now, remember, these are all people

 13      who have already asked for an absentee ballot.

 14                Q.          Right, and who had voted, right?                      Or

 15      had just asked for a ballot?

 16                A.          Again, I'd have to look at what

 17      Mr. Marsh -- what Mr. Marsh's reply to me -- and I

 18      don't know how -- I don't have a clue how he could

 19      confirm either one of those.                     But, he said these

 20      people -- I believe he said they had voted absentee.

 21      Whether that meant they had asked for an absentee

 22      ballot or they had filed an absentee ballot.                            It was



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                                                                               Page 81
   1     obviously that Ms. Carmichael had already voted.                           The

   2     other two, I -- you know.

   3               Q.          Not sure.

   4                           But in this -- this next paragraph

   5     about Clifford Simons, it says, "She is living in a

   6     nursing home in Greene County, but still has a house

   7     in Taliaferro County."                And that she has a homestead

   8     exemption; is that right?

   9               A.          Correct.

 10                Q.          And again, this is very basic, but

 11      why were those facts important to you?

 12                A.          The list of 37 said she lived in

 13      Greene County.          The registrar, we have a history --

 14      Taliaferro County has history of people who do not

 15      live here voting.            Or let me use the word "local

 16      lore."

 17                Q.          Okay.

 18                A.          That people and -- and I've been --

 19      in a public hearing, a senior government official

 20      told me that his sister lives in Augusta, but she

 21      votes in Taliaferro County.                    This was a number of

 22      years ago, when I first moved here.                          And he said



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                                                                                 Page 82
   1     that's her home place.                You always vote at your home

   2     place.      And I was like, wow, that's something I never

   3     heard of before.            Maybe that's the way they do it in

   4     Georgia.       But, not where I'm from.

   5               Q.          Okay.

   6               A.          So, here we have a person who lives

   7     in Greene County.            And, you know, we had a

   8     discussion, me and -- the registrar and I, whether or

   9     not she can vote in Taliaferro County.                            And I said, I

 10      don't think she can.               So, the chief registrar went to

 11      the tax commissioner; found out Ms. Simons has a

 12      house, and is paying taxes, and she has a homestead

 13      exemption.        The law states, again, 21-2-230, I

 14      believe that's in the voter registration law, states

 15      that a person who has a homestead advantage, that's

 16      presumed to be their residence.                       So, I wasn't going

 17      to go back and challenge the homestead exemption.

 18                Q.          Fair enough.             And then, at the end of

 19      this paragraph, you write again, "Again not sure

 20      where the out of county residence information came

 21      from."

 22                A.          Yeah.        Again, the first one was out



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                                                                            Page 83
   1     of state.       So this was a perfect test case.                  One was

   2     out of state.         It appeared to be incorrect.                And, you

   3     know, I'm kind of going, where did it come from?                        The

   4     second one was out of county.                     Where did the

   5     information come from?

   6               Q.          And, did you ever receive a response

   7     from Mr. Cooper; where this out of state information

   8     came from, and the out of county information?

   9               A.          Again, not to my recollection.               But,

 10      you may have something that will surprise me.

 11                Q.          I'm not sure that I do, Mr. Martin.

 12      But, after you submitted these first three, as

 13      we're -- we've been calling them test challenges; did

 14      you go back to the list of 37 and check any more of

 15      the names on the list?

 16                A.          No.

 17                Q.          And, why not?

 18                A.          What do I say?              Burned once, your

 19      fault; burned twice, my fault.

 20                Q.          So, in other words, you identified

 21      some concerning areas, or some concerns about the out

 22      of state and out of county information already on the



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                                                                            Page 84
   1     list; and you did not find it worth your time to --

   2     to verify any of the other names at that point?                       Is

   3     that right?

   4               A.          Right.        And at this point in time, I

   5     did not know that Carmichael was going to be

   6     disqualified.

   7               Q.          Right.        It says -- it says for --

   8               A.          This was written on the 20th of

   9     December.       We were batting 100 percent strikeouts.

 10                Q.          All right.           As you mentioned, it says

 11      in this E-mail here, "No resolution as of yet," in

 12      reference to Ms. Carmichael.                     Presumably, that was

 13      resolved a couple of days later?                        Or?

 14                A.          Yeah, I believe it was resolved.                If

 15      you go back to 003, I believe it resolved later that

 16      day --

 17                Q.          Okay.

 18                A.          -- but this was 9:00 in the morning.

 19      I believe it was resolved.                   It's not dated.      But, I

 20      withdrew that challenge when her ballot was rejected.

 21                Q.          And she requested to be removed from

 22      the voter rolls herself, too?



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                                                                               Page 85
   1               A.           Correct.

   2               Q.           All right.           Okay.       Aside from these

   3     three E-mails now, where you have mentioned the

   4     impact of the challenge is not good, that you sent

   5     around 9:00, 10:00 a.m. on the 20th; did you tell

   6     anyone else that you had withdrawn these three

   7     challenges?

   8               A.           Not that I recall.

   9               Q.           Okay.

 10                             MS. TAYLOR:            And, Henry, if you could

 11      zoom out of this cropped part of the -- yeah, that

 12      would be great.

 13                Q.           And the bottom E-mail down here,

 14      Mr. Martin, it looks like you write on the 17th

 15      around 4:00 p.m., "I will be providing these three

 16      letters to the Registrar and Superintendent

 17      tomorrow."

 18                             Are those three letters you're

 19      referring to the challenge letters for these three

 20      individuals?

 21                A.           Yeah, I believe so.                  001, 002 and

 22      003, if you -- I believe you --



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                                                                                 Page 86
   1               Q.          Okay.        That makes sense.

   2                           MS. TAYLOR:            All right.           Henry, if

   3     you could pull up 0181, which is another version of

   4     this E-mail that we looked at, Mr. Martin.                           This one

   5     was the one that you had send to Amy Holsworth

   6     copying James Cooper.

   7     BY MS. TAYLOR:

   8               Q.          In this E-mail, you write at the top,

   9     "My experience that the True the Vote database has

 10      not been good."

 11                            Again, can you just explain to me

 12      what you mean by that statement?

 13                A.          Yeah, I'll be honest with you, I have

 14      no idea why I was communicating with Amy.                           I don't

 15      know where I got her -- Amy Holsworth, I have no idea

 16      where I got her name or -- or why I sent this; unless

 17      James Cooper told me to tell her, you know, because

 18      at this point in time on the 20th, three days later,

 19      I was very concerned with them using my name on the

 20      list of 37.

 21                Q.          That's all right.

 22                A.          So, I was trying to get my -- you



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                                                                             Page 87
   1     know, I had given him my signature and said, yeah, go

   2     ahead and submit it.               I believe that was on the 17th.

   3     But, at this point in time, I was uncomfortable.

   4               Q.          And that would explain --

   5               A.          Hence, the first statement there.

   6               Q.          Yeah --

   7               A.          "My experience with the True the Vote

   8     data base has not been good."

   9               Q.          And the next line that says, "Please

 10      hold on to any challenge letters to Taliaferro

 11      County"?

 12                A.          Yes.

 13                Q.          Okay.

 14                A.          And, that's at 9 -- that's

 15      December 20th, 9:54 in the morning.

 16                Q.          That is right.

 17                A.          And I said, "Concerns with the

 18      quality of your information.                     Submitted three

 19      challenge letters Thursday evening for individuals on

 20      the True the Vote list who had already asked for

 21      absentee ballots."

 22                            See, that clarifies who had already



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                                                                                Page 88
   1     asked for absentee ballots in Taliaferro County.                             So,

   2     evidently the database was absentee ballots

   3     requested, not submitted.

   4               Q.          Okay.        As you read just there, it

   5     says, "Concerns with the quality of your

   6     information."

   7                           MS. TAYLOR:            And then, Henry, if you

   8     go to the next page, where his E-mail continues.

   9               Q.          At the top it says, "Indicates a

 10      problem with data accuracy and relevance."

 11                            What were you referring to, just to

 12      be clear for the record, when you say "data"?                          Are

 13      you talking about the names themselves and the

 14      addresses?

 15                A.          Well, the addresses specifically.

 16      The names -- you know, the names -- it appears the

 17      names were all Taliaferro County names.                           At one point

 18      in time they -- they were or are Taliaferro County

 19      voters.      But, the data I was referring to is the

 20      reference to them being out of state or out of

 21      county.      And that reiterates the information -- you

 22      know, I'm feeding back realtime data here.                          This is



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                                                                              Page 89
   1     real -- you know, you sent me a list of 37 names, and

   2     this is my results of the test cases; three test

   3     cases.      As you can see, I'm uncomfortable.                     Please

   4     hold onto any challenge letters to Taliaferro County.

   5               Q.          Did you receive a response to this

   6     E-mail?

   7               A.          You know -- if I did, it's in the

   8     package that we provided to you.                        If not, then it

   9     isn't.      I don't -- I don't recall.

 10                Q.          Okay.

 11                A.          Again, I'll repeat, I was not aware,

 12      when True the Vote sent the list of 37 to -- to

 13      Taliaferro County.

 14                Q.          And like you said, you write again

 15      here, "Please hold on to any challenge letters to

 16      Taliaferro County."              Were you under the impression,

 17      at the time, that your challenge letters to

 18      Taliaferro County were being held after you sent this

 19      E-mail?

 20                A.          I was aware that they had not been

 21      sent.     I was not aware -- let me put it the other

 22      way.     I was not aware they had been sent.                      And I was



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                                                                               Page 90
   1     telling them that basically don't put my name on

   2     anything that challenges Taliaferro County.

   3                           So, I'm saying "Please hold to any

   4     challenge letters to Taliaferro County."                          Maybe not

   5     as clear as it should have been.                        But the urgency,

   6     the December -- you know, when I initially took

   7     actions there was an urgency.                     Because of the -- in

   8     December 17th -- you know -- you had absentee

   9     ballots, people were voting.                     You know, the last line

 10      really clarifies that "No absentee ballots will be

 11      opened until January 5th at 7:00."                         So, you had a

 12      couple -- you had time.                 Basically, I was saying,

 13      hey, we kind of have some time to sort this out.

 14      This isn't -- you know, your data -- I've said

 15      enough.

 16                            MS. TAYLOR:            Can we pull up, Henry,

 17      the document that ends in 0185.

 18                            (Whereupon, Exhibit 10, Letter

 19      beginning Bates No. Def. Cooper 0185, was marked for

 20      identification.)

 21                Q.          Mr. Martin, this appears to be a

 22      challenge letter with your name on it, that was sent



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                                                                            Page 91
   1     to Judge Stevens, on the 17th of December.

   2               A.           No.     I believe that's not correct.

   3               Q.           Okay.       Can you tell me what this

   4     document is?

   5               A.           Well, it's a draft of a letter that

   6     would have been responsive to the list of 37.                       I

   7     believe this was sent to Mr. Copper as a draft of

   8     what I was going to send.                   But, it's not signed.        It

   9     was not sent.

 10                Q.           Okay.       So.      This was a draft letter,

 11      then, that was never actually sent to the

 12      superintendent of elections, challenging those 37

 13      voters?

 14                A.           Correct.

 15                Q.           Okay.       And, this was something that

 16      you had drafted?

 17                A.           Yes.

 18                Q.           Okay.       Did you have any interaction

 19      with any other challengers in any other county?

 20                A.           No.

 21                Q.           Okay.       Were you aware of -- at the

 22      time that you raised these concerns about the



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                                                                                  Page 92
   1     challenge list to True the Vote, which would have

   2     been on December 20th, were you aware around that

   3     time if any other challenges in other counties that

   4     had already submitted their challenges?

   5               A.           No.

   6               Q.           Did you know if True the Vote, Mr.

   7     Copper, or anyone working with them, had taken any

   8     steps to address the concerns that you raised?

   9               A.           I'm sorry.           I'm not -- I'm still

 10      concentrating on this letter that you've got up on

 11      the screen.

 12                             I'm virtually certain this is an

 13      attachment to an E-mail to Mr. Copper.

 14                Q.           And that it was never actually sent?

 15                A.           Well, I'm sure it's never been sent.

 16      But, I want to reiterate that I believe this is an

 17      attachment to an E-mail to Mr. Copper.

 18                             So, you have it listed as Defendant

 19      Copper 0185.         And, I want to reiterate that it's not

 20      been signed.         There is an electronic signature on

 21      here; but it's not been signed by me.                             And, it was

 22      not sent.       This letter was not sent by me, to the



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                                                                               Page 93
   1     superintendent of elections of Taliaferro County.

   2               Q.          Okay.        Yes.      And, I can confirm that

   3     this document was produced to us by Mr. Copper.                             So,

   4     it was in his files somewhere.

   5               A.          But, it should be listed as an

   6     attachment to my letter to him, asking him if this is

   7     what -- if this is appropriate or something.

   8               Q.          Right.        And thank you for clarifying

   9     that.     It's not -- the way the documents were

 10      produced, it wasn't entirely clear that this was an

 11      attachment to an E-mail.                  So, that's helpful to

 12      understand.

 13                            Do you know -- I'm sorry.                   I don't

 14      know if we ever got an answer to my previous

 15      question.

 16                            MS. TAYLOR:            We can pull this letter

 17      down, Henry.

 18                Q.          Do you know, Mr. Martin, if True the

 19      Vote took any steps to correct any of the information

 20      on their lists; after you raised the concerns that

 21      you raised with them, on the 20th of December?

 22                A.          No.      Only -- you know -- as I found



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                                                                            Page 94
   1     out in the Open Records Request, later in January,

   2     they retracted -- they retracted my challenge.

   3               Q.          They retracted the challenge of -- to

   4     the 37 voters that they had submitted without your

   5     knowledge?

   6               A.          Correct.          Yes.

   7               Q.          Okay.        Are you aware if anyone at

   8     True the Vote withdrew challenges in other counties

   9     as a result of the concerns you raised?

 10                A.          No.      I'm not -- I'm sorry.

 11                Q.          Do you need me to repeat the

 12      question?

 13                A.          I'm not aware of any other challenges

 14      that were given or retracted by True the Vote, in any

 15      other county.

 16                Q.          Okay.        Okay.

 17                            MS. TAYLOR:            Can we mark, Henry,

 18      Document 1833 as the next exhibit.

 19                            (Whereupon, Exhibit 11, Letter Bates

 20      No. Def. TTV 1833, was marked for identification.)

 21                Q.          Do you recognize this, Mr. Martin?

 22                A.          I do.



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                                                                                Page 95
   1               Q.          And, can you tell me what this --

   2     what this is?

   3               A.          It's a letter from -- I can't see the

   4     bottom of this -- I can't see the bottom of this.

   5     I'm -- I don't recall this.                    I don't recall this

   6     letter.

   7               Q.          Okay.

   8               A.          What is -- what is troubling for me,

   9     at this point in time, on December 22nd, the E-mail

 10      address of the registrar -- what is troubling to me

 11      is it says registrars131@yahoo.com.                          I did not become

 12      aware of that address until the Open Records Request

 13      in January.        So, it's troubling to me that I would

 14      have dated on December 21st.                     I know it's got my name

 15      on it.      But, all of my letters that I wrote were to

 16      the superintendent of elections -- and another

 17      problem that troubles me is -- it says:                           "Dear Chief

 18      Registrar."        All of my letters that I wrote were to

 19      the superintendent of elections, with a copy to the

 20      chief registrar -- to the registrar.

 21                Q.          Okay.        So, here's what I think may

 22      have happened here.              And, you can tell me if you



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                                                                                      Page 96
   1     think it's -- if you think that's reasonable.

   2                           You mentioned earlier that True the

   3     Vote had submitted challenges with your name on it,

   4     around this time, and you weren't aware of it yet.

   5     And, you had actually asked them to withhold them.

   6     But, you weren't sure if they had already been

   7     submitted or not.

   8               A.          Correct.

   9               Q.          Okay.        You then wrote an E-mail to

 10      James Cooper, and to a couple individuals at True the

 11      Vote, asking them to withhold -- to hold on your

 12      challenges.        Is it possible that they had already

 13      submitted the challenges, and now drafted this E-mail

 14      again on your behalf -- or this letter, again, on

 15      your behalf, retracting those submitted challenges?

 16                A.          That's a presumption.                       That's a

 17      presumption that I would make.                      I'm not sure that --

 18      you know, you can make that presumption because of

 19      the dates, looking at the dates.                        But, specifically,

 20      on the 22nd of December, I cannot recall knowing that

 21      E-mail address of the registrars.

 22                Q.          Okay.



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                                                                             Page 97
   1               A.          I don't know if this is an E-mail or

   2     a letter.       So, it's just not -- this does not look

   3     like something -- I don't recall preparing this.                         I

   4     don't recall providing it to you.                        I don't recall.

   5     You know, I would have to -- I mean, I just don't

   6     recall this.         I don't think this is mine.

   7               Q.          Fair enough.

   8                           And it says, "I submitted written

   9     challenges."         It doesn't specify, you know, I

 10      submitted three written challenges or I submitted 37?

 11                A.          37 or 3, no.

 12                Q.          Okay.        All right --

 13                A.          And it's -- and it's my -- it's my

 14      recollection that the way --

 15                            Go ahead.           You do it.

 16                Q.          I don't mean to interrupt, Mr.

 17      Martin, if you have something to say.

 18                A.          No.      Go ahead.

 19                Q.          Okay.        So, you don't recall sending

 20      this letter or drafting it.                    But, do you recall

 21      receiving a response to this letter at any time?

 22                A.          Nope.



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                                                                              Page 98
   1               Q.           Okay.

   2               A.           And the letter is not signed.

   3               Q.           And what does that indicate to you?

   4               A.           It indicates to me it was never sent.

   5               Q.           Okay.

   6                            MS. TAYLOR:            We can pull this --

   7               A.           I mean, if I would have sent it, I

   8     would have signed it.

   9               Q.           Do you know, Mr. Martin, if True the

 10      Vote would have sent this on your behalf, if they

 11      would have attached your signature or not?

 12                A.           I don't know.             Do you have one of

 13      those?      I mean, I don't know.                  It just does not --

 14                Q.           It's just not what, Mr. Martin?

 15                A.           You know, I just can't recall where

 16      this came from.

 17                             MS. TAYLOR:            Okay.       We can pull this

 18      down, Henry.         Thank you.

 19      BY MS. TAYLOR:

 20                Q.           You mentioned earlier today in the

 21      deposition, that looking back at all the trouble

 22      these challenges caused, that you wouldn't have



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                                                                            Page 99
   1     submitted them again; is that correct?

   2               A.          Yeah.

   3               Q.          And, can you explain that a little

   4     more for me?

   5               A.          Sure.        Getting a subpoena to provide

   6     all of this information.                  Being hassled about things

   7     like this -- you know -- is aggravating.

   8               Q.          And, what about with respect to the

   9     accuracy of the list that you were provided?                      And the

 10      individuals that were identified on that list?

 11                A.          Again, it depends on how you look at

 12      the list.       If you -- you know, 33 percent of the

 13      individuals that voted and didn't live in Taliaferro

 14      County.      Is that good?            Or, you know -- I can't make

 15      a judgment of that.              When you only have about 800

 16      people voting, and a lot of elections are decided by

 17      one or two persons, one or two votes makes a huge,

 18      huge difference in Taliaferro County, in local

 19      politics.       Maybe not in the January 5th election.

 20                            So, it's really a judgment call.

 21                            Do you want -- do you want voter

 22      registration -- should voter registration be of the



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                                                                           Page 100
   1     people that live here?                My belief it should be.         It's

   2     an opinion.        People from out of the county and out of

   3     the state shouldn't be voting in Taliaferro County.

   4     But -- and I believe most of the law supports that.

   5     But, you know, is it worth the hassle for one or two

   6     votes?      Only if you lose the election by one or two

   7     votes.      That is a judgment call.

   8               Q.          And, Mr. Martin, you acknowledge that

   9     two of the three test cases that you submitted had

 10      voters that, under Georgia law, as far as you pressed

 11      the case at least, were registered appropriately in

 12      Taliaferro County.

 13                            What effect do you think the issuance

 14      of challenges against those voters, as exemplified by

 15      the two in your three test cases, would have been to

 16      have been challenged in -- to have their eligibility

 17      to vote challenged?

 18                A.          I'm not sure I'm clear what you're

 19      asking.      You're asking for an opinion?

 20                Q.          Yes.       In your opinion, Mr. Martin,

 21      what effect would those challenges have had on those

 22      voters who were in fact eligible to vote in



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                                                                                Page 101
   1     Taliaferro County?

   2               A.          Well, no effect.                They -- they voted.

   3     Their vote was counted.                 Put it that way.             I believe

   4     their vote was -- I never validated that they

   5     actually voted.           But, I believe they voted and that

   6     their vote counted.

   7               Q.          Are you aware, Mr. Martin, if those

   8     voters who were challenged would have been made aware

   9     that their vote had been challenged; or their

 10      eligibility to vote, rather?

 11                A.          I'm not aware that -- only Ms. -- I

 12      believe it was Carmichael, was aware -- to my

 13      knowledge, only Ms. Carmichael was -- and I don't

 14      know that she knew she was challenged.                            She just got

 15      a call from the registrar and asked where she lived.

 16      I -- the registrar, and as I said, the superintendent

 17      of elections, who's also the probate judge, I don't

 18      know what they said.               I have no knowledge of what

 19      they said, you know, to Simons and Davis.                           Or -- I

 20      don't know that Simons was ever contacted.                           And I

 21      know it was a personal phone call from the

 22      superintendent of elections to Ms. Davis.



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                                                                               Page 102
   1                           So -- but I don't know what was said

   2     there.      And there's no -- as far as I can tell,

   3     there's no recording.

   4               Q.          And Mr. Martin, you had withdrawn

   5     your challenges.            But, had you not withdrawn the

   6     challenges and had there been a challenge hearing, do

   7     you know if those individual voters who had been

   8     challenged would have had to show up at that hearing?

   9               A.          Don't know.

 10                Q.          Or this in any way?

 11                A.          I don't know what the process is for

 12      validating residency.

 13                Q.          Okay.

 14                A.          In fact, that brings up the question

 15      of the 37 voters on the list.                     Whose responsibility

 16      is it really, to validate that those people do live

 17      in Taliaferro County?               Is it the registrar's office

 18      in Taliaferro County?               Or is it the secretary of the

 19      state?      You know, who should be validating that the

 20      voter rolls are correct?                  I don't know.           It seems to

 21      me that the county registrar has a responsibility to

 22      do that.       I know for a fact that they are not going



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                                                                           Page 103
   1     back and looking at those 37 people to see if they

   2     live in the county.              They have no intentions of doing

   3     that.     They have no intentions of any follow-up.

   4               Q.          What do you mean by that last

   5     statement, that the registrar doesn't have any

   6     intentions of follow up for those 37?

   7               A.          Correct.

   8               Q.          And, is that because those were

   9     withdrawn?        Or --

 10                A.          Correct.          And when I asked her

 11      informally if they were going to do anything, she

 12      said no.       I said okay.

 13                Q.          Understood.

 14                            MS. TAYLOR:            Why don't we take a

 15      ten-minute break, if that works for you, Mr. Martin

 16      and Ms. Kramer.

 17                            MS. KRAMER:            That works.

 18                            Joe, is that --

 19                            THE TECH:           Give me one second.

 20                            The time is 11:24 a.m., off the

 21      record.

 22                            (Recess taken.)



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                                                                            Page 104
   1                           THE TECH:           We are back on the record.

   2     The time is 11:41 a.m.

   3     BY MS. TAYLOR:

   4               Q.          Mr. Martin, we're almost done here

   5     and I can let you go.               But, I just have a couple more

   6     documents I want to show you, and a few more

   7     questions.

   8                           MS. TAYLOR:            Henry, if you mark the

   9     document that ends in 1460 as the next exhibit,

 10      please.      And pull it up.

 11                            (Whereupon, Exhibit 12, Letter on The

 12      Bopp Law Firm letterhead beginning Bates No. Def TTV

 13      1460, was marked for identification.)

 14      BY MS. TAYLOR:

 15                Q.          Mr. Martin, have you seen this letter

 16      before?

 17                A.          Can I read it?              I doubt it.     But, let

 18      me read it.        Who signed it?

 19                            MS. TAYLOR:            Henry, do you mind

 20      scrolling through to the end of the letter.

 21                A.          Okay.

 22                Q.          Do you recognize this letter at all?



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                                                                             Page 105
   1               A.          No.

   2               Q.          Okay.

   3               A.          Can I --

   4               Q.          Sure.

   5               A.          Can I get a copy of it?

   6               Q.          I can give you the time to read it

   7     right now.        Or else you can reach out to your counsel

   8     for a copy of it, if you'd like.                        I won't have any

   9     further questions on it if you don't recognize this

 10      though, Mr. Martin.

 11                A.          Second page.             The third page.      Next

 12      page.     Next page.         Next page.           Next page.      Great.

 13      Thank you.

 14                Q.          Mr. Martin, now having read through

 15      the letter, can you confirm that you have not seen

 16      this letter before?

 17                A.          Absolutely.            I have not seen it

 18      before.

 19                Q.          Okay.

 20                            MS. TAYLOR:            Let's mark Document 1459

 21      as the next exhibit, please.

 22                            (Whereupon, Exhibit 13, True the Vote



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                                                                           Page 106
   1     Letter Bates No. Def TTV 1459 was marked for

   2     identification.)

   3     BY MS. TAYLOR:

   4               Q.          This is another letter, but it's much

   5     shorter.       You can take a look at it, Mr. Martin.

   6     But, can you let me know if you recognize this one?

   7               A.          No.

   8               Q.          Okay.        And, you didn't send this to

   9     anybody or receive a copy of it from anybody?

 10                A.          Nope.

 11                Q.          Great.        Do you want a chance to look

 12      at it?      Or can we take it down?

 13                A.          Yeah, I want to read it.

 14                            Yeah.        No, I haven't seen it.

 15                Q.          Okay.

 16                            MS. TAYLOR:            You can pull that down,

 17      Henry.

 18      BY MS. TAYLOR:

 19                Q.          Earlier today, Mr. Martin, you

 20      mentioned having done your own research into the list

 21      of 37 voters that you were provided by Mr. Cooper.

 22      Apart from what was already discussed about your



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                                                                            Page 107
   1     research into the specific three individuals, as

   2     we've been calling them test cases, did you do any

   3     other research into the names on that list?

   4               A.          Nope.

   5               Q.          And, at any point, did you give True

   6     the Vote permission to send letters on your behalf;

   7     other than the challenge letters you agreed to

   8     submit?

   9               A.          Not that I recall, no.

 10                Q.          What about to Mr. Cooper; did you

 11      give him permission at any point to submit letters on

 12      your behalf?

 13                A.          Except for that E-mail that had my

 14      signature on it, not -- not that I recall, no.

 15                Q.          Are you referring to the E-mail that

 16      we marked as an exhibit earlier?                        Where you gave

 17      Mr. Cooper and True the Vote --

 18                A.          December 17th I believe it was.

 19                Q.          -- permission to use your name to

 20      submit challenges in Taliaferro County?

 21                A.          Uh-huh, uh-huh.

 22                Q.          Okay.        And, you mentioned earlier



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                                                                           Page 108
   1     also that was all of your communication with Mr.

   2     Cooper after that first phone call was by E-mail.                        Is

   3     that -- is that right?

   4               A.          Yes.       Yes.

   5               Q.          Okay.        And, do you recall if he was

   6     the one that told you to raise your concerns about

   7     the -- the list of voters with Amy Holsworth or

   8     Catherine Engelbrecht at True the Vote?

   9               A.          Again, it's -- I was not aware that I

 10      had sent them those E-mails.                     I'm sure I did, and I

 11      would -- he was the only person that would have

 12      provided me with their names and E-mail addresses.                         I

 13      don't know where else I would have gotten them.

 14      So -- but, I do not believe -- I do not believe that

 15      was in any of the documentation that we provided in

 16      our written statement.                I just don't recall those

 17      E-mails.

 18                Q.          Okay.

 19                A.          I don't recall finding them on my

 20      computer.       I don't recall including them in the

 21      package that we sent -- provided.

 22                Q.          While we're on the topic of you



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                                                                           Page 109
   1     gathering materials, et cetera, in response to the

   2     subpoena request you received, can you -- can you

   3     tell me what you did to prepare those responses?

   4               A.           Can I?        I'm sorry, repeat the

   5     question.

   6               Q.           Sure.       Can you explain to me what you

   7     did to prepare the written responses that you

   8     provided in response to the subpoena; as well as the

   9     documents that you provided?

 10                A.           Yeah.       Well, I searched all the

 11      documents on my computer that were relevant.                       And,

 12      any kind of cross-references to those, and provided

 13      all of that information to Melena Siebert, I believe

 14      was her name, at James Bopp Law Firm, who then

 15      prepared a formal response back, that was delivered

 16      electronically to -- I guess you call yourselves the

 17      plaintiffs?

 18                Q.           Uh-huh.         Did you talk to anyone

 19      besides attorneys, at the Bopp Law Firm about the

 20      facts, or anything to refresh your memory as you

 21      prepared those written responses?

 22                A.           No.     Only the open records request to



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                                                                            Page 110
   1     the Taliaferro County registrar's office and

   2     superintendent of elections --

   3               Q.          Right, and you had mentioned that.

   4               A.          -- to get -- to get any -- which

   5     provided a lot of additional information.

   6               Q.          Okay.        Do you continue to talk with,

   7     or communicate with, in any way, with James Cooper?

   8               A.          James Cooper is the -- was elected

   9     the chairman of the 10th District GOP in February, at

 10      the same time that I retired from that position.                         He

 11      has been at one of the Taliaferro County GOP

 12      meetings.       But, we have not conversed in any -- in

 13      any manner about this particular issue.

 14                Q.          Okay.        What were the circumstances of

 15      him replacing you as the 10th District chair?

 16                A.          Well, he -- the 10th District is

 17      above the Taliaferro County GOP.                        The 10th District

 18      is the 10th District, you know, it's a Congressional

 19      district, but it's -- it's -- it's multiple counties.

 20                Q.          So, he became the chair of that

 21      district at the same time that you stepped down; but

 22      it wasn't the same position?                     Is that right?



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                                                                                  Page 111
   1               A.          Correct.

   2               Q.          Okay.

   3               A.          Another individual from Taliaferro

   4     County took over my position as chair -- chairperson.

   5               Q.          And, was that just because your term

   6     had ended?        Or, you were ready to step down?

   7               A.          I was ready to step down.

   8               Q.          Is there anything else about your

   9     experience with these challenges in Taliaferro

 10      County, or with True the Vote, that we didn't discuss

 11      today that we should know about?

 12                A.          Yeah, I would just -- I would just

 13      reiterate, you know, Taliaferro County is a very

 14      small county.         I think I -- I think we have on record

 15      that there's about 1700 folks in the county.

 16      Somewhere around 1200 people are registered to vote.

 17      That's not a large number of people.                              The registrar

 18      thinks she knows all of them.                     In a normal election,

 19      you might get 6 or 800 people that vote.                             I don't

 20      have the numbers for the January 5th thing.                             But, one

 21      or two people -- we've had a number of elections in

 22      the last 5 years, where one vote has made the



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                                                                              Page 112
   1     difference in a local election.                       One vote.    So, every

   2     vote, every vote really does count.                          It's not a

   3     matter of, you know, 37 people have moved out of the

   4     county.      Who cares about 37?                 One vote does make a

   5     difference.

   6                           And, as I said, there's this local

   7     lore, that people have talked about, that -- you

   8     know, there are people that do not live in the

   9     county, do not reside in the county, but they vote in

 10      the county.        And, you know, this is -- I believe

 11      Georgia law gives any registered voter the

 12      opportunity to challenge a particular vote.                         Not

 13      necessarily challenge the registration, but the vote.

 14      And, I believe that's what I attempted to do with the

 15      three -- three cases that we -- we've talked about

 16      here.

 17                            And I said -- as I said before, the

 18      three cases, the one that -- the one ballot that was

 19      rejected, come to find out later, they overruled that

 20      objector -- objection and counted the vote.                         So, you

 21      know, even though the person didn't live in

 22      Taliaferro County, they said they gave them an oops,



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                                                                            Page 113
   1     and it was okay for them to vote.

   2                            I don't know how -- what all of this

   3     means.      If you're trying to keep your voter rolls

   4     accurate and correct, and if residents are supposed

   5     to be voting, that's the way it should be.

   6               Q.           Are you referring to the voter that

   7     you challenged that had the homestead exemption?

   8               A.           Nope.       The other one.

   9               Q.           The one who asked to have her ballot

 10      retracted?

 11                A.           Right.        Right.

 12                Q.           Okay.       I believe that was

 13      Ms. Carmichael?

 14                A.           Yes.

 15                Q.           Is there anything else you think we

 16      should know?

 17                A.           Nope.       No.

 18                             MS. TAYLOR:            Okay.       I have no further

 19      questions.

 20                             MS. KRAMER:            I have no follow-up

 21      questions.

 22                             THE TECH:          Okay.       Should I go off the



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                                                                           Page 114
   1     record?

   2                            MS. TAYLOR:            Yes, you can go off the

   3     record.

   4                            MS. KRAMER:            Thank you.

   5                            THE TECH:          The time is 12:00 p.m.,

   6     going off the record.

   7                            (Time Noted:            12:00 p.m. EDT.)

   8

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                                                                           Page 115
   1        CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
   2                           I, Amanda Gorrono, the officer before
         whom the foregoing deposition was taken, do hereby
   3     certify that the foregoing transcript is a true and
         correct record of the testimony given; that said
   4     testimony was taken by me stenographically and
         thereafter reduced to typewriting under my direction;
   5     and that I am neither counsel for, related to, nor
         employed by any of the parties to this case and have
   6     no interest, financial or otherwise, in its outcome.
   7                           IN WITNESS WHEREOF, I have hereunto
         set my hand this 28th day of September, 2021.
   8
   9
 10
 11
 12
 13
 14      ______________________________
 15      AMANDA GORRONO, CLR
 16      CLR NO:      052005 - 01
 17
 18      Notary Public in and for the State of New York
 19      County of Suffolk
 20      My Commission No.            01G06041701
 21      Expires:       01/07/2023
 22



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                                                                           Page 116
  1           Joseph Martin, c/o

              The Bopp Law Firm

  2           1 South Sixth Street

              Terre Haute, Indiana         47807-3510

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: September 28, 2021

  5           Deponent: Joseph Martin

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

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  3
  4             SIGNATURE PAGE
                Case: Fair Fight, Inc. et al. v. True the Vote, et al.
  5             Witness Name: Joseph Martin
                Deposition Date: September 28, 2021
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
 15
 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  6                                          ERRATA SHEET

  7

  8             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

  9             Witness Name: Joseph Martin

 10             Deposition Date: September 28, 2021

 11             Page No.        Line No.              Change

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21            ___________________________                         _____________

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